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                 Exhibit H
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Transcript of Louisiana Senate
      Chamber - Part 1
                      Date: June 18, 2022
                   Case: Transcription Services




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                                                                        6                TRANSCRIPT OF VIDEO-RECORDED
                                                                        7                       TESTIMONY OF THE
                                                                        8                    LOUISIANA SENATE CHAMBER
                                                                        9                         REDISTRICTING
                                                                        10                        JUNE 18, 2022
                                                                        11                           PART 1
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                                                                        20   Job No.: 453585
                                                                        21   Pages: 1 - 90
                                                                        22   Transcribed by: Christian Naaden
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                                                                        1                          P R O C E E D I N G S
                                                                        2            SEN. CORTEZ:           Senate will come to order.
                                                                        3    Secretary, open the machines for roll call. Senator
                                                                        4    Carter is here. Senator Lambert is here. Senator Price
                                                                        5    is here. Senator White is here. Senator Henry is here.
                                                                        6    Senator Jackson is here. Senator Barrow is here.
                                                                        7    Senator Boudreaux is here.
                                                                        8            All right, close the machines. 34 members and
                                                                        9    quorum members today. Senator Gary Carter will open us
                                                                        10   up in prayer and then lead us in the pledge. Senator
                                                                        11   Carter --
                                                                        12           SEN. CARTER:           Thank you members. It's a great
                                                                        13   honor to -- to be able to deliver the prayer this
                                                                        14   morning, especially as we engage in such important work
                                                                        15   dealing with redistricting and I also want to remind
                                                                        16   everyone in a happy way that we are celebrating
                                                                        17   Juneteenth.
                                                                        18           And as we're celebrating Juneteenth, I want to
                                                                        19   refer you all to the scripture in the book of Jeremiah,
                                                                        20   the 29th chapter and this is a letter it's described as
                                                                        21   his letter to the captives and these are the words of
                                                                        22   Jeremiah the prophet.


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                                                                        1               This is Jeremiah 29 verse 1. Now, these are
                                                                        2    the words to the letter Jeremiah that the prophets sent
                                                                        3    from Jerusalem on to the residue of the elders, which
                                                                        4    were carried away captives and it continues.
                                                                        5               Thus said the Lord of hosts, the God of Israel
                                                                        6    to all that were carried away captive, whom the Lord
                                                                        7    has caused to be carried away from Jerusalem to
                                                                        8    Babylon. These are his instructions. Build ye houses
                                                                        9    and dwell in them and plant gardens and eat the fruit
                                                                        10   thereof.
                                                                        11              Take ye wives and beget sons and daughters and
                                                                        12   take wives for your sons and give daughters to your
                                                                        13   husbands that they may bear sons and daughters that ye
                                                                        14   may increase and not diminish.
                                                                        15              And this is the part I really want us to focus
                                                                        16   on. And seek the peace in the city that I have caused
                                                                        17   you to be carried away captive, and pray unto the Lord
                                                                        18   for it, for in its peace you shall have peace. Let us
                                                                        19   pray.
                                                                        20              Thank you Father God for this wonderful
                                                                        21   opportunity to serve your state, to serve the people of
                                                                        22   this nation and in all of our communities and let all


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                                                                        1    of our communities have peace and prosperity all across
                                                                        2    our state, all across our parishes, all across our
                                                                        3    nation.
                                                                        4              Let us have peace and prosperity for the God
                                                                        5    and guide us as we lead this state and lead our people
                                                                        6    to that end. Bless us Father and your mighty son Jesus.
                                                                        7    And we thank you and we praise you. Amen.
                                                                        8              ALL:   I pledge allegiance to the flag of the
                                                                        9    United States of America and to the republic for which
                                                                        10   it stands, one nation under God, indivisible, with
                                                                        11   liberty and justice for all.
                                                                        12             SEN. CORTEZ:       The reading of the journal.
                                                                        13             CLERK:    Official journal of the senate of the
                                                                        14   State of Louisiana Friday, June 3rd.
                                                                        15             SEN. CORTEZ:       Senator Bernard [inaudible]
                                                                        16   dispense with the reading of the journal without
                                                                        17   objection so order. Senator Milligan would you like
                                                                        18   personal privilege?
                                                                        19             SEN. MILLIGAN:        Thank you Mr. President and
                                                                        20   members. Yesterday, I got to slip away for a special
                                                                        21   event. Yesterday morning at 9 a.m. my second
                                                                        22   granddaughter was born Miss Abigail Jean Oliver to my


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                                                                        1    daughter, Madison and her husband, Clint and my 2-year-
                                                                        2    old granddaughter and big sister, Miss Ellawe.
                                                                        3            She was born yesterday at 9:11, 6 pounds 13
                                                                        4    ounces, 19-1/2 inches and she is absolutely beautiful.
                                                                        5    And so, I missed our struggles here and -- and somewhat
                                                                        6    tough days, hard days, and it was a very bright light
                                                                        7    yesterday for me and I --
                                                                        8            I just wanted to share with all of you guys
                                                                        9    and wish mom and dad well. Thank you. Thank you, Mr.
                                                                        10   President.
                                                                        11           SEN. CORTEZ:          Congratulations.
                                                                        12           CLERK:       Senate bills on third reading and
                                                                        13   final passage, senate bill 3 by Senator Ward is an
                                                                        14   [inaudible] title 18 and to repeal section 4 and
                                                                        15   subsection B of section 5 of act 5 of the 2022 first
                                                                        16   extraordinary session of the legislature relative to
                                                                        17   congressional districts.
                                                                        18           SEN. CORTEZ:          Senator Ward are you -- you
                                                                        19   prepared? Senator Fields you have a point of order.
                                                                        20           SEN. FIELDS:          Mr. President, my point of order
                                                                        21   is -- and I thank you for recognizing me. Before we
                                                                        22   discuss this very important piece of legislation and I


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                                                                        1    thank the gentleman for introducing the bill, I just
                                                                        2    want to make sure that Mr. Ward is a member of the
                                                                        3    senate and my question is have you received any
                                                                        4    communication from Mr. Ward resigning from the Senate?
                                                                        5            SEN. CORTEZ:        I have not.
                                                                        6            SEN. FIELDS:        Okay.
                                                                        7            SEN. CORTEZ:        Senator Ward, on your bill.
                                                                        8            SEN. WARD:       Thank you Mr. President. Members,
                                                                        9    we've been at all of this for quite some time. For this
                                                                        10   particular special session, it's only been a few days.
                                                                        11           For those that have worked on redistricting,
                                                                        12   it's been a 9 or 10-month process, and it's something I
                                                                        13   was not heavily involved in, have not been heavily
                                                                        14   involved in, but for the few days that I have been,
                                                                        15   thank you for all the hard work that you've put into
                                                                        16   this topic, because it is not an easy one.
                                                                        17           Over the years, I've always worked to try and
                                                                        18   build consensus around things as best as I possibly
                                                                        19   can, a lot of times trying to take on issues that were
                                                                        20   maybe something where groups were in different corners
                                                                        21   and trying to pull people together.
                                                                        22           I can tell you that out of all the different


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                                                                        1    things I've worked on, this is by far the most
                                                                        2    difficult one that I've ever -- ever tried to work on.
                                                                        3            But where we are currently, is this and I know
                                                                        4    I've started with this every time I've spoken on this
                                                                        5    bill, whether it was whenever we were introducing it
                                                                        6    into the files of the senate or whenever I was getting
                                                                        7    ready to start my presentation in the committee
                                                                        8    yesterday.
                                                                        9            We're here because of an order from the judge,
                                                                        10   a federal judge that called us back here for the
                                                                        11   purpose of remedial congressional redistricting plan
                                                                        12   that includes an additional majority black
                                                                        13   congressional district. That's why we're here. That's
                                                                        14   what we're here to do.
                                                                        15           And so, of all the different plans that I've
                                                                        16   looked at over the last few months I felt like they
                                                                        17   were all very similar and one of the reasons for that
                                                                        18   is because it is not an easy task the way our
                                                                        19   population is in terms of how it lays out.
                                                                        20           It can be a difficult thing to achieve for a
                                                                        21   number of reasons and, in particular, more so for
                                                                        22   congressional seats than legislative seats, the


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                                                                         1    variation or the deviation, I should say, has to be
                                                                         2    much closer and so when you -- when you factor in all
                                                                         3    the delegations we have around the state and the way
                                                                         4    the population structure, it becomes a difficult task.
                                                                         5            So, I wanted to try and give us an attempt at
                                                                         6    building consensus around something that quite frankly
                                                                         7    looked different than most anything we've seen so far.
                                                                         8    And this is what we've come up with at this point.
                                                                         9            So, I'm going -- I'm going to go down and read
                                                                         10   the bill briefly and then I'll -- I'll be happy to
                                                                         11   answer your questions as the light is already lit up.
                                                                         12   But the focal point of the bill in particular was
                                                                         13   really District 2 and District 6.
                                                                         14           District 2 has a black population of 52.097
                                                                         15   and a white and other population of 47.9. Now that
                                                                         16   would -- that would be where current congressman Troy
                                                                         17   Carter currently resides and would continue to -- to
                                                                         18   represent.
                                                                         19           District 6 is 51.95 percent black population
                                                                         20   and the white and other is 48.047 percent. Now the
                                                                         21   reason I start off by talking about those two in
                                                                         22   particular is one of the things that this map does is


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                                                                         1    the 6th district does not displace a sitting congress
                                                                         2    person.
                                                                         3              What it does, it creates a district, a second
                                                                         4    majority black district that does not turn -- someone
                                                                         5    who's already serving does not change their district
                                                                         6    into that.
                                                                         7              So, what we have is the only two districts
                                                                         8    where a sitting congress person is not included in
                                                                         9    another person's or would have to make a choice of who
                                                                         10   they're going to run against would be District 1 and
                                                                         11   that's Congressman Scalise and District 2 and that's
                                                                         12   Congressman Carter.
                                                                         13             So, whether be in District 5, District 4, or
                                                                         14   District 3, depending on how those would shape up as we
                                                                         15   move this forward there may be a choice between a
                                                                         16   congressman or congresswoman whether or not they were
                                                                         17   going to have to run against or end up in the same
                                                                         18   district.
                                                                         19             So, that's the focus of the bill. Of course,
                                                                         20   there's many, many more details to all the other
                                                                         21   districts, but before we get into any sort of
                                                                         22   amendments or anything I really would like to answer


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                                                                         1    questions about the bill as it sits right now. And Mr.
                                                                         2    President, I do see a question.
                                                                         3            SEN. CORTEZ:        Question on the bill, Senator
                                                                         4    Robert Mills.
                                                                         5            SEN. MILLS:        Thank you for your work on this
                                                                         6    Senator Ward and my interest is in going back and just
                                                                         7    trying to understand what we're trying to do and in
                                                                         8    Caddo, Bossier, Webster, DeSoto, Red River, and that is
                                                                         9    a community that is very similar in nature all the way
                                                                         10   up and down.
                                                                         11           It's really the heart of northwest Louisiana.
                                                                         12   Your -- your map is disruptive to that area as far as
                                                                         13   I'm concerned. We've got similar communities and
                                                                         14   cities. We got employees that travel throughout the
                                                                         15   area for their employment.
                                                                         16           Shreveport, the city of, Barksdale Air Force
                                                                         17   Base and Camp Minden are all connected and rely on each
                                                                         18   other and must be protected and splitting that area
                                                                         19   with congressional districts is not desirable.
                                                                         20           Would you entertain an amendment that would
                                                                         21   just move in between congressional districts 4 and 5
                                                                         22   only, not touching 6, not touching 3. Would you


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                                                                         1    entertain an amendment that I would offer to
                                                                         2    consolidate Caddo, Bossier, Webster, DeSoto, Red River,
                                                                         3    a small section of Bienville with the rest of the
                                                                         4    congressional District 4 and allow us to maintain the
                                                                         5    distinct lines with the congressional representation
                                                                         6    that we've enjoyed in the past.
                                                                         7            SEN. WARD:         Senator Mills, look I -- and I
                                                                         8    stated this yesterday in committee. Really my -- my
                                                                         9    purpose of being very adamant that we have something on
                                                                         10   the floor to debate is that we try and build consensus
                                                                         11   around it.
                                                                         12           I'm certainly willing to look at that
                                                                         13   amendment that you offer up and see if it's something
                                                                         14   that will help us reach a point that allows us to build
                                                                         15   consensus around something and keep this process
                                                                         16   moving. So, if throughout the day you offer that
                                                                         17   amendment, I'll certainly be happy to entertain it.
                                                                         18           SEN. MILLS:          Thank you and I would like to
                                                                         19   offer that amendment and I've spoken with Senator
                                                                         20   Peacock and Senator Milligan and we really -- we might
                                                                         21   have some minor differences between us, but we really
                                                                         22   think that it's in the best interest of our


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                                                                         1    constituency in northwest Louisiana and I offer
                                                                         2    amendment that has been drafted.
                                                                         3            SEN. CORTEZ:        Senator Mills, if I can
                                                                         4    interrupt you for a second. We have a large number of
                                                                         5    people that want to question the bill. We also have a
                                                                         6    large number of amendments that are going to be offered
                                                                         7    as is the tradition.
                                                                         8            The first amendments that are offered are the
                                                                         9    author's amendments and then we go in order as they
                                                                         10   were filed. So, you can ask your questions, but we're
                                                                         11   not prepared at this time to start taking up
                                                                         12   amendments, but we will get you back up with it when
                                                                         13   the amendments start to get offered.
                                                                         14           SEN. WARD:       And Senator Mills, I'm not trying
                                                                         15   to play coy with you. The difficulty in handling these
                                                                         16   things is this. We could -- I could just blindly accept
                                                                         17   your amendment and it may satisfy your delegation and
                                                                         18   everybody up there would be happy, what I have to be
                                                                         19   able to pull back and look at is what does it do to the
                                                                         20   rest of the state and -- and all those sorts of things.
                                                                         21           So, that's why I say I'm certainly happy to
                                                                         22   entertain any amendment that will help us -- help us


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                                                                         1    move this process forward and in particular keep the
                                                                         2    conversation going, but we're going to at some point
                                                                         3    have to look at them all holistically in order to see
                                                                         4    how they work together.
                                                                         5             SEN. MILLS:       That's fine and I understand
                                                                         6    that. And entertaining would definitely improve the
                                                                         7    attitudes of Senator Peacock and Senator Milligan as
                                                                         8    well as myself. Thank you very much.
                                                                         9             SEN. WARD:      Thank you.
                                                                         10            SEN. CORTEZ:       Thank you. Senator White for a
                                                                         11   question on the bill.
                                                                         12            SEN. WARD:      It's a lot of paper.
                                                                         13            SEN. WHITE:       A lot paper. A lot of questions.
                                                                         14   I just wanted to establish, you still are Senator Ward,
                                                                         15   right?
                                                                         16            SEN. WARD:      Unless somebody sent a letter in
                                                                         17   on my behalf, I am.
                                                                         18            SEN. WHITE:       All right, wanted to get that
                                                                         19   clear. Looking at the new districts on the state map,
                                                                         20   it's a great deal different from what this body sent
                                                                         21   out by 230 votes. Is that true?
                                                                         22            SEN. WARD:      That is true. It's much different


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                                                                         1    than what we passed a few months ago.
                                                                         2            SEN. WHITE:        So, this map, the only
                                                                         3    deliberation we'll get on it is one or two days or
                                                                         4    maybe three days as I see.
                                                                         5            SEN. WARD:       That's correct. It's a -- we're --
                                                                         6    we're tight on time so we're just doing the best we can
                                                                         7    in terms of transparency and running this process the
                                                                         8    best we can.
                                                                         9            SEN. WHITE:        Did you go all over the state
                                                                         10   like you did on a previous map and get input from the
                                                                         11   locals and everybody like some of the meetings I went
                                                                         12   to that you were there.
                                                                         13           SEN. WARD:       I did not. I did not.
                                                                         14           SEN. WHITE:        Okay. I guess I'll just kind of
                                                                         15   cut to the metro area then where I live. As you see
                                                                         16   that area right there, that white area or gray,
                                                                         17   whatever it is, light gray --
                                                                         18           SEN. WARD:       Yeah.
                                                                         19           SEN. WHITE:        On the west side, the Comite
                                                                         20   River, that's central. And it comes down and it goes
                                                                         21   into St. George area, and then St. George area is the
                                                                         22   south part of the parish above section from the Amite


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                                                                         1    River to the Mississippi River.
                                                                         2            It looks to me it's cut in two or three
                                                                         3    pieces. It looks like it has part of three, part of the
                                                                         4    new District 6, maybe just those two. But East Baton
                                                                         5    Rouge Parish, it has part of 6, part of Scalise. What's
                                                                         6    Scalise, 1? And part of [inaudible] 3.
                                                                         7            So, it's cut in three parishes and some people
                                                                         8    say you know that's good, you got three senators, but
                                                                         9    if you look at the population where this is, I mean
                                                                         10   there's no representation of maybe 150,000 in the new
                                                                         11   district, maybe 40,000 in Scalise and maybe 50,000-
                                                                         12   100,000 in number 3, so that's less power for the
                                                                         13   greater Baton Rouge area, the most populated area, the
                                                                         14   capital city.
                                                                         15           There's -- I mean if you're a senator you
                                                                         16   really with 600,000 you would have to pay a lot of
                                                                         17   attention to anybody in this district. Would you say
                                                                         18   that's possible?
                                                                         19           SEN. WARD:       I certainly understand that point.
                                                                         20   I looked at all that and I -- I guess for myself I
                                                                         21   represent an area and I said this yesterday in
                                                                         22   committee, out of the nine parishes I represent, six of


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                                                                         1    them are represented by multiple congressmen.
                                                                         2            Very similar to my senate district, it is also
                                                                         3    broken up. Out of the nine parishes, only two of the
                                                                         4    parishes I have are whole and complete parishes. So, it
                                                                         5    does make it difficult and I understand that, but it
                                                                         6    was just a byproduct of trying to draw something that
                                                                         7    it suited the needs of what we're trying to do here.
                                                                         8            SEN. WHITE:        Well, I thank you for that
                                                                         9    response, but I still have -- I pointed out and I still
                                                                         10   have great concerns about the representation of the
                                                                         11   whole east Baton Rouge Parish. We would not have a
                                                                         12   congressman that had a great deal of population in East
                                                                         13   Baton Rouge Parish; therefore, they wouldn't have to
                                                                         14   give us a lot of attention if they didn't want to.
                                                                         15   They're biggest votes in other parts of the state.
                                                                         16           SEN. WARD:       And I understand that. Your
                                                                         17   concern is that being sort of the tail end of any
                                                                         18   particular district could leave you where your feeling
                                                                         19   like the whole parish may not have much of any
                                                                         20   representation, and I do understand that concern.
                                                                         21           SEN. CORTEZ:        Yeah.
                                                                         22           SEN. WHITE:        And I -- I bring that point for


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                                                                         1    this reason in my senate -- senate district goes to
                                                                         2    Tangipahoa Parish and I represent Hammond and
                                                                         3    Ponchatoula and some unincorporated areas.
                                                                         4            Where Hammond and Ponchatoula are very, they
                                                                         5    fight, they're jealous of each other, but the one
                                                                         6    commonality that both of them have, they hate Baton
                                                                         7    Rouge because they think Baton Rouge gets too much.
                                                                         8            So, for that reason, I think that you've left
                                                                         9    East Baton Rouge Parish out to where any areas of the
                                                                         10   state that's jealous of East Baton Rouge Parish, us
                                                                         11   congressman don't have to pay us any attention.
                                                                         12           SEN. WARD:       And -- and I understand that
                                                                         13   Senator White and I'm -- I'm willing to entertain any -
                                                                         14   - any changes you may have where we can try and make
                                                                         15   this work, but put that in a better posture that you
                                                                         16   see that's better.
                                                                         17           SEN. WHITE:        Okay, thank you Senator.
                                                                         18           SEN. CORTEZ:        Thank you. Senator Talbot for
                                                                         19   question on the bill.
                                                                         20           SEN. TALBOT:        How are you doing Senator? And I
                                                                         21   won't belabor the point. I guess I'm going to kind of
                                                                         22   echo what -- what Senator Mills said. It looks like


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                                                                         1    I've got to get into the amendment room as well.
                                                                         2            My concern is we have in this -- in this bill
                                                                         3    Kenner, the city of Kenner, which is, you know north of
                                                                         4    Kenner especially, you know very conservative area, is
                                                                         5    now in District 2, and I guess my -- you know that's a
                                                                         6    big community of interest.
                                                                         7            Really, the whole East Jefferson of Jefferson
                                                                         8    Parish on the East Bank except for maybe the Southwest
                                                                         9    part, which is South Kenner, which has always been in
                                                                         10   that other congressional district.
                                                                         11           So, that's my concern and -- and you know I
                                                                         12   can't speak for my Orleans counterparts, but we have,
                                                                         13   you know, Lakeview, Mid-City and parts of uptown in
                                                                         14   District 1 and it would seem like it would make sense
                                                                         15   to swap that out with North Kenner.
                                                                         16           So, I just wanted -- and I appreciate what
                                                                         17   you're doing, which is a very difficult thing, and I
                                                                         18   won't waste your time up here, but I'll say it looks I
                                                                         19   have to go to the amendment room as well because of my
                                                                         20   concerns about breaking up this community of interest,
                                                                         21   so I just wanted to point that out to you.
                                                                         22           SEN. WARD:       And look, once again, I appreciate


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                                                                         1    that. I'm willing to take a look at anything that
                                                                         2    someone provides me that will not only solve their
                                                                         3    issues, but also keep this in a posture where it
                                                                         4    doesn't disrupt the map holistically.
                                                                         5            Because as you know whenever you change a
                                                                         6    precinct here or a precinct there, it has a ripple
                                                                         7    effect around the state in terms of numbers, so I'm
                                                                         8    willing to take all of it into account and see if we
                                                                         9    can make it work. That's really my goal today.
                                                                         10           SEN. TALBOT:         Okay. I appreciate that, and I
                                                                         11   will get on that in the amendment room. Thank you.
                                                                         12           SEN. CORTEZ:         Thank you. Senator Cloud for a
                                                                         13   question.
                                                                         14           SEN. CLOUD:         Thank you Mr. President. Senator
                                                                         15   Ward, looking at your version of -- of the map, do you
                                                                         16   realize in Evangeline Parish, which I represent, that
                                                                         17   you have very distinctively created outliers?
                                                                         18           There is a finger and there's been other
                                                                         19   versions of -- of this effort, that has taken a section
                                                                         20   of my home parish, of Evangeline Parish and extracted
                                                                         21   out populations just to -- to get the numbers right and
                                                                         22   it's in order -- in an effort of trying to get the


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                                                                         1    numbers right to create a certain district, we're
                                                                         2    creating an outlier.
                                                                         3            We're creating communities that are -- that
                                                                         4    are going to be disadvantaged, competing with the
                                                                         5    attention and the time from a congressman that
                                                                         6    represents East Baton Rouge Parish, West Baton Rouge
                                                                         7    Parish, West Feliciana, St. Helena, and then you have
                                                                         8    these few little precincts and Evangeline Parish that
                                                                         9    are going to be competing, especially we've all been
                                                                         10   through with COVID, we've been through the -- all these
                                                                         11   natural disasters.
                                                                         12           That's really the time that you need your
                                                                         13   congressperson to pick up the phone. How -- I mean
                                                                         14   could you -- do you realize that what a disadvantage --
                                                                         15   I mean you're -- you're a senator, what a disadvantage
                                                                         16   it puts these few precincts and -- and these elected
                                                                         17   officials in, in trying to get surfaces and dollars and
                                                                         18   assistance, especially in times of great need?
                                                                         19           SEN. WARD:       So, look, I am aware that -- that
                                                                         20   it breaks parishes and some cases even smaller and
                                                                         21   tighter than that. From my perspective, we had a goal
                                                                         22   or I had a goal to try and draw a map that abided by


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                                                                         1    the order that came down from the judge and I was not
                                                                         2    as concerned about that particular point because, as I
                                                                         3    referenced earlier, I represent nine parishes, seven of
                                                                         4    which are only pieces of parishes.
                                                                         5            And so, I've always tried to make is a point
                                                                         6    whether I represent 1,200 people from one parish or the
                                                                         7    entire parish, I try and represent them just the same.
                                                                         8    But I do understand that concern because I remember the
                                                                         9    first time I ran and you go to some of those places
                                                                         10   where you only represent one small corner and the first
                                                                         11   thing that most people say is well, you know, please
                                                                         12   don't forget about us, we know you're -- we know we're
                                                                         13   -- you know 3 percent of your entire district, so
                                                                         14   please represent us.
                                                                         15           And so, I do know that that's an issue for
                                                                         16   people. I think that it is a very difficult task to try
                                                                         17   and draw a map that does what we're trying to do here
                                                                         18   without creating some outliers around the state.
                                                                         19           The question is really where are those
                                                                         20   outliers going to be and I have several of those same
                                                                         21   sort of fingers in and around the area I represent, so
                                                                         22   I absolutely understand -- understand that point.


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                                                                         1            SEN. CLOUD:        It appears to me that you know in
                                                                         2    trying to identify communities of interest and they're
                                                                         3    sort of like population harvesting going on to try to
                                                                         4    meet those numbers, we're losing focus on what is in
                                                                         5    the best interest of these communities and I know -- I
                                                                         6    know because I've so served in local government in a
                                                                         7    very rural area and how hard it is to have your voice
                                                                         8    heard and even moreso in this situation where a very,
                                                                         9    very rural disadvantaged area is going to be competing
                                                                         10   with some very populated areas and their voice is going
                                                                         11   to be lost in the mix.
                                                                         12           And I don't -- I don't think that that's fair
                                                                         13   to them. Avoyelles Parish in your version of the map 2
                                                                         14   was taken out and -- and put in this congressional
                                                                         15   District 6 and I can tell you I've traveled frequently
                                                                         16   all over Avoyelles Parish, there is very little that's
                                                                         17   similar in Avoyelles Parish with East Baton Rouge and
                                                                         18   West Baton Rouge culturally in every facet of life and
                                                                         19   the economics, the industries that are there, there's
                                                                         20   the similarities in Avoyelles Parish as compared to the
                                                                         21   rest of the district are vastly different.
                                                                         22           And then, just quite simply as a female -- as


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                                                                         1    a female, how many females Senator Ward, do we have
                                                                         2    elected in congress right now?
                                                                         3            SEN. WARD:       Just one.
                                                                         4            SEN. CLOUD:        One. We have one female. And I'm
                                                                         5    so proud that we have Congresswoman Julia Letlow. We
                                                                         6    are putting -- we are setting up the potential, a high
                                                                         7    potential of losing the only female that we have
                                                                         8    elected to congress in trying to solve this problem.
                                                                         9            We may end up without having any female
                                                                         10   representation in congress, because finally, we have a
                                                                         11   female serving. She's there. She just got there and now
                                                                         12   we're setting her up for potential failure and
                                                                         13   inability to be re-elected.
                                                                         14           SEN. WARD:       Sure. And look and I understand
                                                                         15   that. My goal was not to hurt or protect any sitting
                                                                         16   congressperson. That was not part of what I was trying
                                                                         17   to do. I was simply trying to give us a different look,
                                                                         18   something new to look at regardless of who was serving
                                                                         19   where and I'm just being honest about that.
                                                                         20           I did not get their input. I don't know what
                                                                         21   they feel about this. Every single sitting
                                                                         22   congressperson may hate this; one or two of them may


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                                                                         1    love it. I have no idea, but it was -- it was simply
                                                                         2    just to try and give us something new to look at.
                                                                         3            SEN. CLOUD:         And I'm not speaking, you know,
                                                                         4    to a person with a name, I'm speaking to the female
                                                                         5    representation, right? We're going to -- where there's
                                                                         6    a potential of losing all female representation in
                                                                         7    congress by doing this. Yes.
                                                                         8            Well, I too want to visit more on changes that
                                                                         9    need to be made. My people in Evangeline Parish, my
                                                                         10   people in Avoyelles Parish are very, very, very upset.
                                                                         11   My phone has been ringing off the hook over the last
                                                                         12   few days.
                                                                         13           Many of them -- our police jury president
                                                                         14   actually in Evangeline Parish sent over an email. He
                                                                         15   was alerted late in the game about these -- these maps
                                                                         16   and what was going on with this process and he has come
                                                                         17   and participated in testimony for years as a long
                                                                         18   serving, a longtime police jury member and because of
                                                                         19   how rapid, how quick, how tight the timeline is, my
                                                                         20   people have not had the time to mobilize, take off of
                                                                         21   work, get down here and participate in this process.
                                                                         22           This democratic process and they're very, very


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                                                                         1    upset with this legislature and quite frankly this
                                                                         2    order.
                                                                         3             SEN. WARD:      And I understand that and look,
                                                                         4    they can -- I don't if there -- there probably won't be
                                                                         5    time for public testimony in the federal court system
                                                                         6    on all of this, but my thought on that is we do have an
                                                                         7    opportunity to try and do something throughout the
                                                                         8    democrat or with the democratic process this way if we
                                                                         9    don't take advantage of that.
                                                                         10            They will absolutely have no say if a court
                                                                         11   redraws it, and so -- and which is the next step, so
                                                                         12   this is just one step in the process. But at least in
                                                                         13   this matter or in this fashion we do give some
                                                                         14   opportunity for our constituent's voice to be heard.
                                                                         15            SEN. CLOUD:       Well, my constituent's voices
                                                                         16   have not been heard and they want the opportunity and
                                                                         17   they cannot come and stand on this floor and testify,
                                                                         18   but here we are.
                                                                         19            SEN. WARD:      I know.
                                                                         20            SEN. CLOUD:       Thank you.
                                                                         21            SEN. WARD:      Thank you.
                                                                         22            SEN. CORTEZ:       Senator Allain for a question.


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                                                                         1    Senator Allain, question.
                                                                         2               SEN. ALLAIN:       Yeah, I work much better with
                                                                         3    visual aids, so I brought a map. So, in drawing the
                                                                         4    third district, you know I appreciate that St. Mary and
                                                                         5    [inaudible] some of my whole parishes were for left
                                                                         6    whole, but when we talk about continuity of interest,
                                                                         7    you're literally looping in New Orleans.
                                                                         8               So, this entire area we agree is -- is mainly
                                                                         9    agricultural. I mean you have some offshore interests
                                                                         10   and oil and gas interest in -- in lower Lafourche and
                                                                         11   Terrebonne, but mainly this is -- this is a rural area.
                                                                         12              We've always been included with Lafayette,
                                                                         13   which I consider to be part of the region and somewhat
                                                                         14   -- and somewhat agricultural because there is a lot of
                                                                         15   ag around there. But you're looping us in with New
                                                                         16   Orleans.
                                                                         17              I mean do you know how much acreage of
                                                                         18   sugarcane is in New Orleans?
                                                                         19              SEN. WARD:      Probably not a whole lot, but I
                                                                         20   bet they buy a lot of sugar.
                                                                         21              SEN. ALLAIN:       They -- they do buy a lot of
                                                                         22   sugar. But my concern is as I look at this map, the


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                                                                         1    rural and the urban areas are somewhat being thrown
                                                                         2    together. You know, I mean, we've always been able to
                                                                         3    draw districts that -- that was a clear understanding
                                                                         4    of who and what that congressman represented and the
                                                                         5    rural areas were pretty well had leadership or a
                                                                         6    congressman that -- that would take on their issues
                                                                         7    because they knew.
                                                                         8            With this, I mean we're -- we're, you know,
                                                                         9    St. Bernard, Orleans, Plaquemine has -- has very little
                                                                         10   agriculture. They do have fishing and that kind of
                                                                         11   thing, but I mean it's -- it's very dissimilar.
                                                                         12           And I did recognize that gentleman, Mr. Mills,
                                                                         13   brought to argument about the north Louisiana and --
                                                                         14   and I think I've talked a little bit to -- to Barrow
                                                                         15   Peacock about the problems they -- they have in north
                                                                         16   Louisiana.
                                                                         17           I have the same problems, but the quagmire is
                                                                         18   going to be if you fix his, you can't fix mine; if you
                                                                         19   fix mine, you can't fix his. I mean I know we both have
                                                                         20   amendments that -- that are going to be coming up, but
                                                                         21   it's going to be tough to come to a consensus really
                                                                         22   with any of these maps. Don't you agree?


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                                                                         1            SEN. WARD:       Look, I think that's what I stated
                                                                         2    when we started with this. The difficulty is if I fix
                                                                         3    your problem, it creates problem over here; if I fix
                                                                         4    this person's problem, it creates a problem for me.
                                                                         5            We all represent different regions of the
                                                                         6    state and so it is a very difficult thing to try and
                                                                         7    satisfy everybody. We don't even have to satisfy
                                                                         8    everybody to satisfy 20 people and -- and put something
                                                                         9    in the place where we consider -- consider having a
                                                                         10   consensus and a way that we can move forward with a new
                                                                         11   map.
                                                                         12           But that is what I'm trying to do here and so
                                                                         13   I understand that people are going to try and fix their
                                                                         14   problems. I'm willing to look at all of them to see how
                                                                         15   they -- how we can mesh them together and make this
                                                                         16   work.
                                                                         17           SEN. ALLAIN:        I appreciate that. And
                                                                         18   particularly in my area, I see that Lafayette and St.
                                                                         19   Barton is split. I -- I know that's a problem.
                                                                         20   Lafayette has been put in the fourth district and
                                                                         21   separated from my geographic area, Iberia and n St.
                                                                         22   Mary, which is, I don't think has ever happened before.


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                                                                         1            Maybe back [inaudible] that it did happen, but
                                                                         2    I -- you know it's -- it's there, and I know you and I
                                                                         3    have spoken offline that -- that there are many, many
                                                                         4    problems and -- and I just don't know how we come to a
                                                                         5    consensus with even 20 people in the short amount of
                                                                         6    time we were given.
                                                                         7            And that's -- that's the problem. If we, you
                                                                         8    know, if maybe we had more than five days or six days
                                                                         9    at the deadline that we have right here, but I do have
                                                                         10   an amendment coming and I know already after seeing the
                                                                         11   other maps, I know they're not all going to jive, so I
                                                                         12   don't know if we -- if we, you know how we -- how we
                                                                         13   coordinate all of these together.
                                                                         14           I -- I guess we'll take a little break and --
                                                                         15   and see if any of it makes sense, but it's -- I don't
                                                                         16   see how we solve one problem without creating another.
                                                                         17           SEN. WARD:       And I -- I understand that. I
                                                                         18   don't disagree. What -- what I think we do -- we're
                                                                         19   going to have to do is -- is take a look -- look at the
                                                                         20   amendments as they come and if -- if some get on and
                                                                         21   some don't, ultimately we're going to have to put them
                                                                         22   all together and see what -- what the final product of


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                                                                         1    that looks like and see if it keeps us in a posture of
                                                                         2    a map that stays in line with the -- with the court
                                                                         3    order and something that builds enough of a consensus
                                                                         4    for us to keep moving forward.
                                                                         5            SEN. ALLAIN:        And listen, I want to I want to
                                                                         6    make this statement that I -- I do appreciate your
                                                                         7    effort of you at least making an attempt. I think it's
                                                                         8    a -- it's a good try at where we're going. I just --
                                                                         9    I'm hoping that there's a formula in there that -- that
                                                                         10   at the end of the day works, but right now I have my
                                                                         11   doubts, but thank you for trying [inaudible].
                                                                         12           SEN. WARD:       Thank you.
                                                                         13           SEN. CORTEZ:        Senator Lambert for a question
                                                                         14   on the bill.
                                                                         15           SEN. LAMBERT:         Senator Ward, I'm kind of
                                                                         16   looking over this and it looks like we've got to have
                                                                         17   populations in each one of these districts of about
                                                                         18   776,200 people, give or take a few. Is that right?
                                                                         19           SEN. WARD:       Yeah, that's correct.
                                                                         20           SEN. LAMBERT:         And out of that we've got to
                                                                         21   try to reach some kind of racial balances and so forth.
                                                                         22   All right? And I understand this appears to be a pretty


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                                                                         1    monumental task now that I'm looking at this and really
                                                                         2    looking at in detail, but you know I have a concern
                                                                         3    that I'm looking at District 3, which looks like I live
                                                                         4    in that now, where I used to be in District 6.
                                                                         5             District 3 goes from EBR to St. Bernard, then
                                                                         6    all the way across the coast of Louisiana to the Texas
                                                                         7    line. And if I'm looking at communities of interest and
                                                                         8    issues, I just don't see where there's a whole lot of
                                                                         9    the same interest in this community.
                                                                         10            And I'm going to tell you what really brings
                                                                         11   me to mind is in the Baton Rouge area, we've had a lot
                                                                         12   of problems in 2016 with flooding, the EBR, Livingston,
                                                                         13   Ascension, St. James area and even Iberville really
                                                                         14   have the Amite River Basin Commission. We've had that
                                                                         15   issue.
                                                                         16            This map completely divides that district up.
                                                                         17   Wouldn't you agree?
                                                                         18            SEN. WARD:      Yes, I do see what you're talking
                                                                         19   about and where that basin would go through two part of
                                                                         20   3 and parts of 6, so I mean, yes, I do understand the
                                                                         21   concern there.
                                                                         22            SEN. ALLAIN:       And that's what I have a problem


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                                                                         1    with and I'm looking at this. I mean I look at the
                                                                         2    state as different regions have different issues. And
                                                                         3    what we're doing now is, now I don't know if
                                                                         4    Congressman Graves lives in District 3 or he lives in
                                                                         5    District 6 or where, but I mean he's familiar with
                                                                         6    these issues, worked, you know with us, the local
                                                                         7    delegations to get funding for these areas.
                                                                         8            Now, what you're doing is with this map, it
                                                                         9    basically throws that to the wind. I mean we now have a
                                                                         10   situation where we would have to deal with possibly two
                                                                         11   new congressmen, who are not going to be familiar with
                                                                         12   this area, much less some of the other things that we
                                                                         13   have like -- I'm looking like Prairieville and Baton
                                                                         14   Rouge doesn't have a whole lot in common with the
                                                                         15   issues in Vermilion Parish.
                                                                         16           SEN. WARD:       Look, I understand that. I think -
                                                                         17   - I think what you're dealing with here is I was simply
                                                                         18   trying to give us something different look at and what
                                                                         19   we have so far. Most of the maps are very similar with
                                                                         20   the populations tweaked here and there to try and reach
                                                                         21   different goals.
                                                                         22           This tries to reach a goal of complying with


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                                                                         1    the judge's court order, but in a completely different
                                                                         2    way because up until this point, we have not been able
                                                                         3    to build a consensus around anything that does comply
                                                                         4    with that order that looked in a similar way to what
                                                                         5    all the other maps have looked at. So, this is just a
                                                                         6    different look to give us another opportunity to try
                                                                         7    and make that happen.
                                                                         8            SEN. ALLAIN:        And look, I want to applaud you
                                                                         9    for this, but I mean looking at this and I think a
                                                                         10   couple other people, this is a monumental task and it's
                                                                         11   something that's not going to be easily done because of
                                                                         12   the difference in the communities -- I'm going to call
                                                                         13   it communities of interest, seems to be the buzzword.
                                                                         14           Because different regions of the state have
                                                                         15   different issues and I know as far as I'm looking at in
                                                                         16   District 3, a lot of our issues are not the same as in
                                                                         17   Vermilion, Cameron, and I just don't know how we can
                                                                         18   have effective legislation in congress when we're
                                                                         19   divided up like this.
                                                                         20           SEN. WARD:       Again, I'm going to go back to the
                                                                         21   district [inaudible] or if I go from the Feliciana and
                                                                         22   St. Helena all the way down into lower St. Martin, so -


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                                                                         1    - and everything in between, so I understand the task
                                                                         2    of representing different communities of interest. It
                                                                         3    is not an easy thing to do.
                                                                         4            Whether congress is ever effective or not
                                                                         5    effective in passing legislation, I'm sure we could all
                                                                         6    debate that for a long time, but I would hope that
                                                                         7    regardless of where any of these people landed in terms
                                                                         8    of how far away or how new it would be to represent a
                                                                         9    group of people, they would -- they would do their best
                                                                         10   to try and represent them all.
                                                                         11           It's not an easy thing to do. You represent a
                                                                         12   group of people that, you know most of their livelihood
                                                                         13   is timber and things like that and you drive to the
                                                                         14   other end of you district and its craw fisherman,
                                                                         15   commercial fisherman and then while you're traveling
                                                                         16   from point A to point B you're passing through
                                                                         17   sugarcane and -- and everything else.
                                                                         18           So, we're a diverse state and once you start
                                                                         19   traveling from parish to parish, it becomes
                                                                         20   increasingly hard to -- to put communities of interest
                                                                         21   together.
                                                                         22           SEN. ALLAIN:         Well, and I guess it does when


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                                                                         1    you try to factor in other factors because I'm looking
                                                                         2    at this, it just doesn't appear as far as District 3 is
                                                                         3    concerned that we have those communities of interest.
                                                                         4    And I appreciate your efforts on it and I got to say
                                                                         5    this is a monumental task.
                                                                         6            SEN. CORTEZ:           Thank you. Senator Milligan for
                                                                         7    a question on the bill.
                                                                         8            SEN. MILLIGAN:            Thank you Senator and I
                                                                         9    appreciate your work on this and -- and -- and trying
                                                                         10   to draw a map that we can all get behind. My question I
                                                                         11   guess looking at the new district is Barksdale Air
                                                                         12   Force Base. Is that still in 4 or has it been drawn in
                                                                         13   District 5?
                                                                         14           SEN. WARD:          As of now, it's in District 5.
                                                                         15   Once we get to the amendments, as I said yesterday in
                                                                         16   committee, my -- my first amendment as far as -- my
                                                                         17   only amendment will be to -- to fix that and I know
                                                                         18   staff has -- has already put that together in a way
                                                                         19   where it will not disrupt the numbers throughout the
                                                                         20   district, so we are going to -- to fix that problem in
                                                                         21   terms of making sure that those bases are in the same -
                                                                         22   - same district.


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                                                                         1            SEN. MILLIGAN:         And I do appreciate that. And
                                                                         2    I shared with you in committee yesterday and with the
                                                                         3    members of the committee and I'll share with the
                                                                         4    members here of just how strong we are militarily, but
                                                                         5    economically having those two in the fourth district.
                                                                         6            I don't know that you know that the 2022
                                                                         7    National Defense Authorization Act pledged a billion
                                                                         8    dollars in construction spending between Fort Polk,
                                                                         9    Camp Minden and Barksdale and so that's, to me,
                                                                         10   testimony of the strength of having those spaces all in
                                                                         11   one district.
                                                                         12           And -- and certainly those bases in our -- in
                                                                         13   our state provide 9.6 billion in economic impact,
                                                                         14   77,000 jobs and 350 million in taxes to our state
                                                                         15   locally as well.
                                                                         16           So, my concern obviously is diluting our
                                                                         17   strength, but if your amendment's going to take care of
                                                                         18   that, I appreciate you altering that amendment and
                                                                         19   we'll see what that looks like.
                                                                         20           SEN. WARD: Thank you Senator.
                                                                         21           SEN. MILLIGAN:         Thank you Senator.
                                                                         22           SEN. CORTEZ:        Senator Abraham for a question


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                                                                         1    on the bill.
                                                                         2            SEN. WARD:       There's no more money for your
                                                                         3    bridge contained in this bill.
                                                                         4            SEN. ABRAHAM:         Well, I can vote for it if you
                                                                         5    can find me some money, that's what I wanted to
                                                                         6    publicly declare up -- no, look I'm not trying to pile
                                                                         7    on, just want to make a short, quick comment. Calcasieu
                                                                         8    Parish is where I live and Jeff Davis and Calcasieu are
                                                                         9    almost identical and you've split it right down the
                                                                         10   middle of big V and you take the Lake Charles area and
                                                                         11   parts of Jeff Davis and you move it to the north and
                                                                         12   you take everything else right in the middle of the
                                                                         13   parish and bring it to the south.
                                                                         14           I mean you've split a major, major community
                                                                         15   of interest. I'm not going to offer an amendment, but I
                                                                         16   want just to give you the information so maybe you can
                                                                         17   do something and try to work it, because I know it's
                                                                         18   like a whack-a-mole, you change one thing, it pops up
                                                                         19   on the other.
                                                                         20           So, I just wanted to let you know that, so if
                                                                         21   you have any comments on that.
                                                                         22           SEN. WARD:       Yeah, look I -- I understand that.


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                                                                         1    Again, around the state there has been some of that
                                                                         2    that's taken place. Maybe that's something I should've
                                                                         3    paid closer attention to.
                                                                         4            It was not at the forefront of my thoughts,
                                                                         5    probably because almost every parish I represent is
                                                                         6    split and is represented by multiple congressmen, so I
                                                                         7    -- I understand that concern and if there's a way for
                                                                         8    us to rectify that problem throughout this process and
                                                                         9    not disrupt everything else, I think we can try and do
                                                                         10   it. I just don't know what that looks like.
                                                                         11           SEN. ABRAHAM:          Well, others have offered
                                                                         12   amendments and I'm not going to offer one, like I said
                                                                         13   earlier, but I want you to keep that in mind when
                                                                         14   you're trying to work through everything that has been
                                                                         15   talked about today.
                                                                         16           SEN. WARD:        Thank you.
                                                                         17           SEN. ABRAHAM:          Okay. Thank you.
                                                                         18           SEN. CORTEZ:         Senator Fesi for a question on
                                                                         19   the bill.
                                                                         20           SEN. FESI:        Thank you Mr. President. Senator
                                                                         21   Ward, I'm looking at this coastline and I was wondering
                                                                         22   how much you took in effect the -- the western side of


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                                                                         1    Louisiana coast versus the eastern side and know the
                                                                         2    difference in the contour?
                                                                         3              SEN. WARD:      So, I did not necessarily take
                                                                         4    into account the difference in contour of the east
                                                                         5    versus west. I know the way they function is different
                                                                         6    and the way they -- they -- they, even though it's all
                                                                         7    coastline, I do know and understand they have different
                                                                         8    issues.
                                                                         9              SEN. FESI:      Well, I'll try to help you out a
                                                                         10   little bit. Usually on the western side, you still have
                                                                         11   a lot of beachfront that they're still -- that they're
                                                                         12   trying to save.
                                                                         13             On the eastern side, we've lost our beach,
                                                                         14   we've lost our islands, and now we're losing our
                                                                         15   Morrish and now we're losing our land.
                                                                         16             So, it is a big difference between the two.
                                                                         17   Steve Scalise and Congressman Scalise and Congressman
                                                                         18   Graves have been champions that's been helping get
                                                                         19   money to the eastern side of the coast to make sure we
                                                                         20   can save our coast.
                                                                         21             They've brought in millions and millions of
                                                                         22   dollars, billions of dollars, and -- and we're -- and


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                                                                         1    it's working. And then in your plan here, I lose both
                                                                         2    of those congressman and Congressman Higgins, I don't
                                                                         3    know how much he knows about saving the coast.
                                                                         4            SEN. WARD:       Well, I will -- I will say that
                                                                         5    currently Congressman Graves under this map would
                                                                         6    reside in -- in congressional seat 3.
                                                                         7            Now, I know maybe in a little bit of a reverse
                                                                         8    of what we've been talking about, that would not be the
                                                                         9    same as having Congressman Graves and Congressman
                                                                         10   Scalise, but it does go in and touch EBR and as far as
                                                                         11   I know, Congressman Graves would reside currently in
                                                                         12   under this map in 3.
                                                                         13           SEN. FESI:       So, okay. I thought that -- I
                                                                         14   thought Congressman Graves was 6?
                                                                         15           SEN. WARD:       In this drawn congressional seat
                                                                         16   6, there's no sitting congressman or woman that lives
                                                                         17   in 6, they all reside in one of the other 5 seats.
                                                                         18           SEN. FESI:       Okay. Well, I just don't know how
                                                                         19   powerful it is for someone not to live in the seat that
                                                                         20   represent and so I think that's a challenge.
                                                                         21           The next thing is it would take probably a
                                                                         22   hundred amendments to try to straighten this map up and


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                                                                         1    you know, to get our coastal zone back into the
                                                                         2    guidelines of what the -- you know the redistricting
                                                                         3    calls for. I mean this thing just totally changes
                                                                         4    everything in the whole state.
                                                                         5            SEN. WARD:       And look, and I understand that.
                                                                         6    Once again, I really have had two things in mind.
                                                                         7    Number one, start off with something that complies with
                                                                         8    the federal judge's court order, and number two, do it
                                                                         9    in a way that gives us a whole other look in comparison
                                                                         10   to what we've been looking at for quite some time now.
                                                                         11           And so, look, maybe it made more people
                                                                         12   unhappy than happy, but we're here talking about a way
                                                                         13   to try and build a consensus around something and I
                                                                         14   don't know if we would've had that chance otherwise.
                                                                         15           SEN. FESI:       I appreciate for what you're
                                                                         16   trying to do, but you know, in a fact that we disrupt
                                                                         17   probably 70 to 80 percent of the whole state to try to
                                                                         18   fix a 30 percent problem, I think we could've done a
                                                                         19   lot better job and that's why I felt that the map that
                                                                         20   we had we had done that because we went over this over
                                                                         21   and over and over again and now, we're here trying to
                                                                         22   start from scratch in just six days when it took six


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                                                                         1    months to do the other one.
                                                                         2            SEN. WARD:       I understand that. It's a -- it's
                                                                         3    a tall task for sure.
                                                                         4            SEN. FESI:       Okay. Well, let's see what
                                                                         5    happens. Thank you.
                                                                         6            SEN. CORTEZ:        Thank you. Senator Peacock for a
                                                                         7    question on the bill.
                                                                         8            SEN. PEACOCK:         Thank you Mr. President. And
                                                                         9    Senator Ward, I understand bringing this map and trying
                                                                         10   to comply with the order in and Senator Mills and
                                                                         11   Senator Milligan have talked about our concerns about
                                                                         12   Barksdale Air Force Base and some of your discussions
                                                                         13   with the other senators. You talk about this is not
                                                                         14   designed in a way to really try to keep the congressman
                                                                         15   in their districts.
                                                                         16           But when I look at the fourth congressional
                                                                         17   district on your map, which goes all the way down from
                                                                         18   Lafayette to Lake Charles, all the way up to Bossier,
                                                                         19   it has none of Caddo.
                                                                         20           Representative Mike Johnson lives in the part
                                                                         21   of Bossier that you have in there, but do you realize -
                                                                         22   - and he does a very good job covering the district and


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                                                                         1    the districts are -- are big in general, but given this
                                                                         2    map, do you realize that the area that he resides in,
                                                                         3    the population difference and where it ranks, that
                                                                         4    Lafayette has the most population, that Calcasieu has
                                                                         5    the second amount.
                                                                         6            Lafayette is at 167,000. Calcasieu at 163,000,
                                                                         7    and you keep going down, Bossier Parish would be the
                                                                         8    eighth in population.
                                                                         9            You're basically putting where Congressman
                                                                         10   Johnson lives into a Lafayette, Lake Charles district
                                                                         11   with that. How -- how does that not -- you mentioned
                                                                         12   this was sort of done to try to keep the --
                                                                         13           I mean he would do a very good job with
                                                                         14   whoever, but how does that work when you -- when we
                                                                         15   start digging into these numbers and I know there are
                                                                         16   some amendments out there, but I don't know that we
                                                                         17   have all these numbers to look at it by parish, by
                                                                         18   parish, by parish and see where the numbers are. Am I
                                                                         19   reading this correct?
                                                                         20           SEN. WARD:       I mean I hope you're reading it
                                                                         21   correct in terms of that's -- I'm sure it matches the
                                                                         22   map we're looking at.


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                                                                         1            But look, I did not take into account the
                                                                         2    population weight in terms of where our current -- and
                                                                         3    this is no disrespect to any of them.
                                                                         4            That just wasn't in the thought process of
                                                                         5    what I was trying to achieve, but I did not look at the
                                                                         6    population and where it sat in regard to any of the
                                                                         7    sitting congressman, that was -- that was just not part
                                                                         8    of the of the strategy I took in trying to come up with
                                                                         9    this map.
                                                                         10           And once again, I -- that's no disrespect to
                                                                         11   anyone of them. It was -- that was not the goal I had
                                                                         12   in mind for what we were trying to get to here.
                                                                         13           SEN. PEACOCK:          But that's really when we get -
                                                                         14   - when we dig down into these numbers into the bill,
                                                                         15   you know these numbers of the 18 parishes, six of them
                                                                         16   are split and you start looking at the numbers and you
                                                                         17   start looking that Bossier Parish would be the eighth
                                                                         18   in ranking in congressional District 4, because you
                                                                         19   have -- you have divided the metropolitan area of
                                                                         20   Shreveport, Bossier with this map.
                                                                         21           And I just -- I -- I know you've said that you
                                                                         22   didn't -- weren't able, but that's something that as we


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                                                                         1    get more into this, that is a great concern to me and
                                                                         2    then that senate that I represent that area in my
                                                                         3    senate district, how much do you have diminished where
                                                                         4    Congressman Johnson currently lives in congressional
                                                                         5    District 4.
                                                                         6            And I really think given his -- his -- his ten
                                                                         7    years now in congress and his armed service committees,
                                                                         8    you know that's just concern, so I just want to make
                                                                         9    sure that you've looked at that and I know you said you
                                                                         10   have some amendments to fix it, but I hope we have this
                                                                         11   data when we see those amendments.
                                                                         12           SEN. WARD:          Yeah look, once we get to the
                                                                         13   amendments as they -- well, I'll speak for the
                                                                         14   amendment that I have to try and fix the Air Force Base
                                                                         15   issue, I'm going to take it very slow, that way it has
                                                                         16   enough time to populate to the computer if it has not
                                                                         17   already and everybody can -- can take a look at it and
                                                                         18   see what it does.
                                                                         19           SEN. PEACOCK:            And we'll have this data.
                                                                         20           SEN. WARD:          As far as I know. I -- I'm not --
                                                                         21   I'm not that smart, but you know I hope that we have
                                                                         22   that, yeah.


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                                                                         1               SEN. PEACOCK:        Okay, but you see my concern?
                                                                         2               SEN. WARD:      Oh, I absolutely see your concern.
                                                                         3               SEN. PEACOCK:        Okay.
                                                                         4               SEN. CORTEZ:       Senator Morris for a question on
                                                                         5    the bill.
                                                                         6               SEN. MORRIS:       Senator Ward, you -- you --
                                                                         7    would you assert that southeast Louisiana and southwest
                                                                         8    Louisiana have a community of interest with one
                                                                         9    another?
                                                                         10              SEN. WARD:      I think they share a coastline. I
                                                                         11   think that -- that is an argument for a similar
                                                                         12   interest. Beyond that, I can see that, of course, it's
                                                                         13   two -- two different communities, and a lot of the
                                                                         14   interests would be different. But they do share a
                                                                         15   coastline, which is -- which is a pretty big deal.
                                                                         16              SEN. MORRIS:       So you -- you could understand
                                                                         17   that they have maybe or not the same community, just
                                                                         18   like northwest and northeastern Louisiana have separate
                                                                         19   communities?
                                                                         20              SEN. WARD:      Absolutely. I -- I understand that
                                                                         21   just -- just as I understand, like I said, for -- for
                                                                         22   my current district. When I go to Greensburg in St.


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                                                                         1    Helena, it is very different than when I go to Pierre
                                                                         2    Part down in Assumption Parish.
                                                                         3            SEN. MORRIS:        And so you could understand why
                                                                         4    people from my area as well as people from northwest
                                                                         5    Louisiana don't believe we have identical -- just
                                                                         6    because we're all in north Louisiana, doesn't mean we
                                                                         7    have the identical communities of interest, just like
                                                                         8    all people in south Louisiana don't have an identical
                                                                         9    community of interest. Would you agree?
                                                                         10           SEN. WARD:       One hundred percent. Yeah. That's
                                                                         11   -- that's true.
                                                                         12           SEN. MORRIS:        Ye- -- yet your map does not
                                                                         13   reflect that difference. Does it?
                                                                         14           SEN. WARD:       Well, look, I don't think we have
                                                                         15   seen a map that does not have, you know,                     some sort of
                                                                         16   area that -- where you've got different communities of
                                                                         17   interest represented by the same person.
                                                                         18           In part, because a lot of our state as a
                                                                         19   whole, is so sparsely populated that in order to come
                                                                         20   to the numbers, you got to have somebody -- there will
                                                                         21   be, you know, probably multiple Congress men or women
                                                                         22   who represent much different communities of interest.


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                                                                         1    And so that's -- that's always going to be part of this
                                                                         2    process.
                                                                         3               SEN. MORRIS:        But wouldn't you agree that
                                                                         4    since two thirds of this body preferred the maps that
                                                                         5    kept distinct northwest, northeast, as well as
                                                                         6    southeast and southwest districts would likely be
                                                                         7    preferrable to the people of the state?
                                                                         8               SEN. WARD:       Look, I think that we did -- we
                                                                         9    did pass a bill with the two thirds of this body. And I
                                                                         10   think if you look at the language of this particular
                                                                         11   bill, it does not say that we no longer, or this body,
                                                                         12   I guess, as a whole, doesn't -- no longer agree with
                                                                         13   that.
                                                                         14              It just simply says if the -- if the process
                                                                         15   plays out and our current map is -- is seen to be
                                                                         16   unconstitutional, that this -- this new one would fall
                                                                         17   into place. So I don't think in any way, this body
                                                                         18   would be portraying that we don't think we did the, you
                                                                         19   know -- we did good work earlier. So that's where we
                                                                         20   seem to be.
                                                                         21              SEN. MORRIS:        Now, Rapides Parish in
                                                                         22   particular is, in essence, gutted with a peninsul- --


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                                                                         1    peninsular that strikes out from what I would call, the
                                                                         2    Baton Rouge Center District or purported Baton Rouge
                                                                         3    Center District, that being six. Can you tell me why
                                                                         4    that juts out so obviously and extends well beyond the
                                                                         5    cohesiveness of District 6?
                                                                         6            SEN. WARD:       Yeah. I mean, it's a matter of
                                                                         7    capturing population. I think there's all sorts of
                                                                         8    things you have to have in place to try and balance
                                                                         9    what the courts look at. But what was at the forefront
                                                                         10   of what we were trying to do here, to comply with the
                                                                         11   order -- and I've -- I've read it repeatedly but it --
                                                                         12   it -- in the remedial Congressional districting plan,
                                                                         13   it must include in addition, a majority black
                                                                         14   Congressional district.
                                                                         15           And so in order to do those things, you have
                                                                         16   to -- you have to find the right community, and no- --
                                                                         17   not just communities of interest, but also communities
                                                                         18   that allow you to draw districts that have the
                                                                         19   population that would fit the criteria to get your
                                                                         20   percentages where they need to be.
                                                                         21           SEN. MORRIS:        I -- I appreciate your hard work
                                                                         22   on this; however, I -- in its current state, I can't


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                                                                         1    support this map, as it disembowels northeast Louisiana
                                                                         2    from its traditional community of interest in a
                                                                         3    district that has been recognized and approved by the
                                                                         4    courts in -- in prior years. And -- and really, it is a
                                                                         5    disservice to the people of central Louisiana.
                                                                         6            And so for that reason, I -- I can't support
                                                                         7    it in its current shape. But I -- I -- I know you're
                                                                         8    trying to do what the court says. But this -- this
                                                                         9    court case, if not resolved by your map, has a long way
                                                                         10   to go, and judge -- the -- the -- the lower court
                                                                         11   judge's order is just very preliminary in this
                                                                         12   proceeding. Did you know?
                                                                         13           SEN. WARD:       Thank you.
                                                                         14           SEN. CORTEZ:        Thank you. Senator Hewitt for
                                                                         15   question on the bill.
                                                                         16           SEN. HEWITT:        Thank you, Mr. President. And I
                                                                         17   think you, Senator for bringing this bill, this, you
                                                                         18   know -- yeah, the -- I and our community have been
                                                                         19   working on redistricting for a long time. And so we
                                                                         20   know how complicated it is -- it is to do a map. And
                                                                         21   you're -- you're basically kind of trying to make some
                                                                         22   of these changes on the fly.


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                                                                         1            And we have something like 3,400 precincts
                                                                         2    you're trying to keep up with and make sure, you know,
                                                                         3    we're not double-dipping or dropping any or whatever.
                                                                         4    And so it's a -- it's a herculean effort, both on -- on
                                                                         5    the part of the author as well as the staff, to try to
                                                                         6    pull this together. So I do appreciate it. And I
                                                                         7    appreciate, you know, your willingness to offer an
                                                                         8    option, as I do with all the authors that have
                                                                         9    participated this week.
                                                                         10           I mentioned this in committee yesterday, you
                                                                         11   know, specifically about my district in St. Bernard.
                                                                         12   And I think, yeah, that's in that Jefferson, on the
                                                                         13   Jefferson Orleans cut in St. Bernard, you know. You are
                                                                         14   truly splitting up Chalmette right between District 3
                                                                         15   and District 2 by doing that. I mean, it's just carving
                                                                         16   out right in the middle of -- of Chalmette.
                                                                         17           If ever there was a textbook community of
                                                                         18   interest, and I would have said this before I was ever
                                                                         19   elected and before I ever knew what a community of
                                                                         20   interest was, it is the epitome of the people in
                                                                         21   Chalmette. They're a multigenerational that have grown
                                                                         22   up and lived in Chalmette.


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                                                                         1            You know, they -- there were finery workers,
                                                                         2    they are fishermen, they're oyster men, they're seafood
                                                                         3    guys, they're crabbers. Everybody's got a pair of white
                                                                         4    shrimp boats, you know, at the front door.
                                                                         5            They go to Rocky & Carlo's after church on
                                                                         6    Sundays. I mean, it is a community of interest. And so
                                                                         7    I absolutely, you know, would not be able to support a
                                                                         8    map that breaks them up like this, into two different
                                                                         9    Congressional districts. They are part of, you know,
                                                                         10   some major flood protection systems.
                                                                         11           There are many major projects on the books
                                                                         12   that we are working to get to help protect St. Bernard,
                                                                         13   who flooded, of course, so badly after Katrina. And so
                                                                         14   that is -- that is a concern I raised yesterday and a
                                                                         15   concern that I -- that I still have with the map and
                                                                         16   its current posture.
                                                                         17           A couple of others, sort of, just big picture
                                                                         18   ideas -- and I think you've heard from some of the
                                                                         19   members already and whose districts these reside, but
                                                                         20   such a big team in the road shows, was about the late
                                                                         21   Charles Lafayette area being seen as a community of
                                                                         22   interest. You know, they have economic development


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                                                                         1    organizations that work across those -- all of those
                                                                         2    parishes.
                                                                         3            They are a very tight-knit community, and --
                                                                         4    and they absolutely made the point very, very early on
                                                                         5    and often, in this process, that they are a community
                                                                         6    of interest. I also am concerned about some of the --
                                                                         7    the fingers or the tentacles that we see throughout the
                                                                         8    map. We talked about that a little bit yesterday in
                                                                         9    committee.
                                                                         10           You know, I -- I do think that, you know,
                                                                         11   those -- those tentacles are done strictly for the
                                                                         12   purpose of picking up black precincts to create the two
                                                                         13   minority districts. And would you agree that that is --
                                                                         14   that that was sort of the guiding principle or what you
                                                                         15   were trying to accomplish was some of those?
                                                                         16           SEN. WARD:         I -- I think in some cases -- I
                                                                         17   went over this somewhat yesterday in committee. You
                                                                         18   know, whenever you've got to try and get to certain
                                                                         19   populations for different districts, whatever that may
                                                                         20   look like, you -- you do have to end up with, I guess,
                                                                         21   the way you describe it, tentacles here and there. And
                                                                         22   it's -- it's mainly because our -- our population is


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                                                                         1    not necessarily just stacked in -- in locations
                                                                         2    everywhere.
                                                                         3            So in order to -- in order to make maps work,
                                                                         4    you've -- you've got to find the appropriate amount of
                                                                         5    population to make each district fit -- fit certain
                                                                         6    criteria.
                                                                         7            And so I think that all the different criteria
                                                                         8    that go into drawing a map are weighted, and in this
                                                                         9    particular case, wha- -- what we were ordered to do, in
                                                                         10   my opinion, made it to where we -- we could to a
                                                                         11   certain extent, you could even argue that it was in --
                                                                         12   in the state's interest as us, drawing the map to -- to
                                                                         13   move forward and try and find certain pockets of
                                                                         14   population in order to make it work and abide by the
                                                                         15   order that we were trying to operate under.
                                                                         16           SEN. HEWITT:           So the order was to draw two
                                                                         17   majority black districts. Was it not?
                                                                         18           SEN. WARD:          That's correct.
                                                                         19           SEN. HEWITT:           Did the judge tell us to do that
                                                                         20   at the expense of communities of interest?
                                                                         21           SEN. WARD:          I did not read the entire order,
                                                                         22   so I -- I can't speak to that. But I do know that that


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                                                                         1    was the overarching reason for the order and -- and
                                                                         2    what we were supposed to do in terms of trying to come
                                                                         3    up with a new map.
                                                                         4            SEN. HEWITT:           Okay. Well, I -- I have read the
                                                                         5    order, and -- and I certainly can provide it to you.
                                                                         6    But it -- communities of interest were not mentioned in
                                                                         7    the order. I do not think she instructed us to -- to
                                                                         8    draw districts at the expense of communities of
                                                                         9    interest. I do not think we were instructed to draw
                                                                         10   districts at the expense of our -- our cities, you
                                                                         11   know. I do not -- she did not instruct us to do it any
                                                                         12   particular way. She said, "Go do -- go draw two black
                                                                         13   districts."
                                                                         14           And so I do think there are -- obviously,
                                                                         15   there have been several different creative ways
                                                                         16   presented on -- on how to do that. But it is a
                                                                         17   balancing act, and I do think that, you know, we still
                                                                         18   have to honor all of the other redistricting principles
                                                                         19   and not throw all of those out the window. strictly for
                                                                         20   the purpose of trying to comply with the judge's order.
                                                                         21   Would you not agree with that?
                                                                         22           SEN. WARD:          Look, absolutely, I think you have


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                                                                         1    to follow all the -- all the redistricting principles
                                                                         2    that have been in place for -- for quite some time.
                                                                         3    What I -- what I can't predict is how a [inaudible]
                                                                         4    judge will weigh them.
                                                                         5            I -- I know that there's principles that have
                                                                         6    been in place through court orders or through rulings
                                                                         7    from over the years, but how -- how they have to
                                                                         8    balance those or able to balance those, I don't have
                                                                         9    the answer to.
                                                                         10           But I do know that in terms of what we had to
                                                                         11   do here, we had to make -- make a cognizant effort to
                                                                         12   try and come up with two -- two districts.
                                                                         13           SEN. HEWITT:        I also think one of the -- the
                                                                         14   principles that -- that this map kind of violates in a
                                                                         15   big way, and I think Senator Fesi touched on this, is
                                                                         16   continuity of representation. You know, when you just
                                                                         17   look at the map, and I've got the enacted map here to
                                                                         18   compare, just visually, you look at how different that
                                                                         19   is to your map.
                                                                         20           And continuity of representation basically is
                                                                         21   saying voters know their -- the performance of their
                                                                         22   Congressmen or Congresswomen better than anybody. You


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                                                                         1    don't want to dump them tomorrow, into a new district,
                                                                         2    right, where, you know -- the -- you're -- you're
                                                                         3    basically not allowing the voters to hold that person
                                                                         4    accountable that they have go- -- gotten to know and to
                                                                         5    work with on the projects that are important to their
                                                                         6    community.
                                                                         7            And so by changing the overall complexion in
                                                                         8    my opinion, you know, where you have the east west
                                                                         9    district to the north, you certainly have the big
                                                                         10   district along the coastline. District 6 is
                                                                         11   dramatically different.
                                                                         12           You know, if -- if we had enough time and we
                                                                         13   could count up how many voters in your map would be in
                                                                         14   a different district compared to the -- to the map as
                                                                         15   it currently exists, I think it would be a significant
                                                                         16   number of people in our state. It's got to be well
                                                                         17   beyond half of them, would be in a new district.
                                                                         18           And so, you know, continuity of representation
                                                                         19   is one of those tra- -- it is called traditional
                                                                         20   redistricting principles. It is one of those, and one
                                                                         21   of those that we valued a lot in the map that we
                                                                         22   enacted, which looks a lot like the map that we -- you


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                                                                         1    know, that we did in -- in 2010.
                                                                         2            And so I do think continuity of -- of
                                                                         3    representation is a big issue for me. I don't know how
                                                                         4    you'd do an amendment, you know, to fix that, other
                                                                         5    than, you know, amending the enacted plan into your
                                                                         6    map. I mean, obviously, that would be one way to do it,
                                                                         7    but that would not fulfill the two minority requirement
                                                                         8    order, black order that we got from the judge. But that
                                                                         9    is a concern of mine.
                                                                         10           And again, it is -- that's what's been the
                                                                         11   challenge for our -- our community throughout this
                                                                         12   process, is balancing all of the redistricting
                                                                         13   principles and the federal and state laws. And that's,
                                                                         14   I guess, my -- I'll just wrap with this.
                                                                         15           I do believe that -- that the map as you have
                                                                         16   presented it, and again -- I do appreciate that it's
                                                                         17   something different and it's a different look, but it
                                                                         18   is to me, so focused solely on black districts and
                                                                         19   black precincts, that it is done at the expense of all
                                                                         20   the other redistricting principles. And I just, you
                                                                         21   know, conceptually and personally have difficulty
                                                                         22   balancing all that in my mind, where everything else is


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                                                                         1    kind of thrown out the window for that benefit.
                                                                         2            So amendments to fix, St. Bernard would be
                                                                         3    appreciated. Amendments, I think, to put Lake Charles
                                                                         4    and Lafayette back together, would be appreciated, you
                                                                         5    know, to the extent that in the process of that, we
                                                                         6    could eliminate some of these fingers and tentacles.
                                                                         7    Because you're going to have to make up these numbers
                                                                         8    somewhere as you're making these changes, you know.
                                                                         9            As you'll discover, you know, whenever you
                                                                         10   make a change in one corner of the state, you will feel
                                                                         11   the ripple all the way across the state. Probably every
                                                                         12   district will be affected by that. Because you have to
                                                                         13   balance them by equal population, which in general, the
                                                                         14   courts have said in -- probably informally or at least
                                                                         15   it's kind of been what we've been working within the
                                                                         16   committee, something less than double-digit
                                                                         17   differences.
                                                                         18           Right. So you're talking about the difference
                                                                         19   in the number of people, compared to the ideal number,
                                                                         20   is like single-digits or double-digit differences. And
                                                                         21   so that causes you -- of course, all precincts are not
                                                                         22   the same size. So adding a precinct in one place, you -


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                                                                         1    - it's not an easy swap, because you've got precincts
                                                                         2    with different numbers.
                                                                         3            So I know our staffs are very capable, and I
                                                                         4    know they'll work with you, you know, in trying to
                                                                         5    address some of these issues. Thank you for your
                                                                         6    willingness to try to take this on.
                                                                         7            SEN. WARD:          Thank you.
                                                                         8            SEN. CORTEZ:           Okay. Senator Ward, that's all
                                                                         9    the questions. Members, what I- -- what I'd like to do,
                                                                         10   I know we have set -- seven sets of amendments. I'm
                                                                         11   told that the amendments, if one were to be adopted,
                                                                         12   they would not be coordinated with the other
                                                                         13   amendments.
                                                                         14           So what I'd like to do is allow you to come up
                                                                         15   and offer your amendment conceptually, and then let's
                                                                         16   temporarily return it after you get the amendment
                                                                         17   presented. And then at some point, I would like to be
                                                                         18   able to recess and see if these amendments can fix some
                                                                         19   of the concerns we heard up at this time. Senator Ward,
                                                                         20   are you okay with that?
                                                                         21           Okay. I believe we -- as we always do, we
                                                                         22   start with the author's amendment first and then as


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                                                                         1    they were filed. So Madam Sector.
                                                                         2            SEC. DIXON:        First set of amendments by
                                                                         3    Senator Ward. They are set number 17. Set number 17. We
                                                                         4    are hand -- passing out copies, but they are also on
                                                                         5    your computer.
                                                                         6            SEN. CORTEZ:        Senator Ward on your amendment.
                                                                         7            SEN. WARD:       Members, I'm going to hold off for
                                                                         8    a moment until everybody gets a paper copy. It's a lot
                                                                         9    of moving parts. Get to the numbers here. Think we're
                                                                         10   about ready. Get to the right page myself.
                                                                         11           SEN. CORTEZ:        Senator Ward, just go ahead and
                                                                         12   tell us what -- effectively, what the amendment does to
                                                                         13   that.
                                                                         14           SEN. WARD:       Yes. So the -- what we're doing
                                                                         15   with the amendment is, we're just simply putting -- it
                                                                         16   -- it came up multiple times on multiple bills with --
                                                                         17   with the -- with the military bases and wanting to have
                                                                         18   them all in one Congressional district.
                                                                         19           So what we would do is, we would put Barksdale
                                                                         20   Air Force Base into Congressional District 4. And by --
                                                                         21   by doing that, in fact, we actually tighten up the
                                                                         22   deviation across the state. It actually ends up being a


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                                                                         1    little tighter than what it was and -- or what it would
                                                                         2    be in the original map. I do see a question.
                                                                         3               SEN. CORTEZ:       Question on amendment. Senator
                                                                         4    Peacock.
                                                                         5               SEN. PEACOCK:        Thank you, Mr. President.
                                                                         6    Senator Ward, I -- I appreciate you trying to address
                                                                         7    the issue with -- with Barksdale Air Force Base, but --
                                                                         8    and -- and this is just, I guess, part -- you still
                                                                         9    have not addressed Camp Minden that is -- is -- that is
                                                                         10   integral to our military defense of -- of -- of and
                                                                         11   Webster Parish, and of course, Barksdale with Fort
                                                                         12   Polk.
                                                                         13              So Camp Minden is right on the Webster Parish-
                                                                         14   Bossier Parish line. And -- and I know our National
                                                                         15   Guard and it is part of our -- our [inaudible] defense
                                                                         16   funding is related to Camp Minden along with Barksdale
                                                                         17   Air Force Base in Fort Polk.
                                                                         18              So that -- that is something I just want to,
                                                                         19   you know, to address in this. I -- I do appreciate --
                                                                         20   but then also, what we brought up earlier, you still
                                                                         21   have where Congressman Johnson lives, significantly
                                                                         22   down in population to the overall district. There's not


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                                                                         1    a substantial change.
                                                                         2            SEN. WARD:       And -- and I understand that. And
                                                                         3    I -- in terms of the Camp Minden portion, that was not
                                                                         4    brought to my attention in committee, so I sought to
                                                                         5    address what we discussed there. But what we are doing
                                                                         6    is just to --
                                                                         7            SEN. PEACOCK:         Just we're talking --
                                                                         8            SEN. WARD:       -- talking about them in
                                                                         9    principle. If there's a way we can try and address that
                                                                         10   going forward, I'll -- I'll certainly do it.
                                                                         11           SEN. PEACOCK:         Okay. Thank you.
                                                                         12           SEN. CORTEZ:        Thank you. Se- -- Senator Foil,
                                                                         13   did -- did you want -- okay. There are no further
                                                                         14   questions on the amendment. Senator Ward, you want to
                                                                         15   temporarily return it and let the next amendment --.
                                                                         16   Okay. He returns it. Next amen- --
                                                                         17           SEC. DIXON:        Next set of amendments are by
                                                                         18   Senator Fields. They are set number 21. Set number 21.
                                                                         19   We are passing them out. And they are on your computer.
                                                                         20           SEN. CORTEZ:        Senator Fields.
                                                                         21           SEN. FIELDS:        Thank you, Mr. President,
                                                                         22   members. Thi- --this amendment, quite frankly, will do


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                                                                         1    three things. It will basically put the bill in the
                                                                         2    same posture, SB1, with two exceptions. With two
                                                                         3    exceptions, so I can be very transparent. It would be
                                                                         4    the same app that I filed under SB1, but there will be
                                                                         5    two exceptions to that.
                                                                         6            One exception would be Senator Reese offered
                                                                         7    an amendment in committee, that would make Vernon
                                                                         8    Parish a whole. It would have that amendment on the
                                                                         9    bill to keep the military community together. So that
                                                                         10   amendment would be in this bill. And the other
                                                                         11   amendment that was in the bill that Senator Foil
                                                                         12   offered, that amendment would not be on the bill.
                                                                         13           That's what this amendment would do. The
                                                                         14   deviations would change slightly, but not enough to
                                                                         15   affect the overall acceptable deviations. That's what
                                                                         16   the amendment does. And I see that there are no
                                                                         17   questions. And at the appropriate time, I move the
                                                                         18   adoption. I [inaudible] now --
                                                                         19           SEN. CORTEZ:         Look, there's a -- there's a
                                                                         20   question.
                                                                         21           SEN. FIELDS:         I know, I do see a question.
                                                                         22           SEN. CORTEZ:         Question on the amendment.


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                                                                         1    Senator Foil.
                                                                         2            SEN. FOIL:       Senator Fields, can you explain
                                                                         3    the amendment that was -- that I had offered that's not
                                                                         4    --
                                                                         5            SEN. FIELDS:        Yes.
                                                                         6            SEN. FOIL:       -- acceptable? Yes.
                                                                         7            SEN. FIELDS:        I took your amendment off
                                                                         8    Senator because your amendment basically in my view,
                                                                         9    somewhat violates the judge's order, because it -- it
                                                                         10   dictates to the court what it is to do. It basically
                                                                         11   vio- -- violates the court order in this respect. One,
                                                                         12   it -- if the -- if we --
                                                                         13           SEN. CORTEZ:        Senat- -- Senator Fields, could
                                                                         14   you explain to the members what his amendment did? It
                                                                         15   was a committee of amendment that did not get adopted
                                                                         16   since your bill did not get forwarded, so that the
                                                                         17   members would know what his amendment offer?
                                                                         18           SEN. FIELDS:        All right. Senator Foil had an
                                                                         19   amendment that basically provided that if this bill is
                                                                         20   ad- -- is adopted a pass, then it becomes law -- and
                                                                         21   the court amendment -- I mean, and the court order is
                                                                         22   overwritten by a higher court, that we would go back to


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                                                                         1    a previous act of the legislator.
                                                                         2            And I -- I -- I think that's inappropriate. I
                                                                         3    think basically what Senator Foil would be saying is,
                                                                         4    the latest expression of the law would not be the
                                                                         5    latest expression of the law. And so I took that out,
                                                                         6    because I think that's inappropriate. Because the
                                                                         7    latest expression of the law would be this bill.
                                                                         8            SEN. FOIL:        Just to be clear, Senator Fields,
                                                                         9    my amendment dealt with your bill. Senator Ward
                                                                         10   introduced this bill with that language in it, so it
                                                                         11   was not my amendment. That language was in the bill as
                                                                         12   introduced by Senator Ward.
                                                                         13           SEN. FIELDS:         A- -- and I apologize, but I'm
                                                                         14   telling -- I'm talking about my bill as it pass the
                                                                         15   committee, but that's right. And -- and so it takes
                                                                         16   that out.
                                                                         17           SEN. FOIL:        Right. So -- so the language that
                                                                         18   you're taking out that Senator Ward has in his bill, in
                                                                         19   summary, states, "If this litigation process goes
                                                                         20   forward in the first map or determine to be legal, then
                                                                         21   this piece of legislation would not go into effect."
                                                                         22           SEN. FIELDS:         My bill would be clean. It won't


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                                                                         1    have any of that language in it whatsoever. That's what
                                                                         2    -- that's what my amendment would do.
                                                                         3            SEN. FOIL:        Thank you.
                                                                         4            SEN. FIELDS:         You're welcome.
                                                                         5            SEN. CORTEZ:         Question on the amendment.
                                                                         6    Senator White.
                                                                         7            SEN. WHITE:         Senator, I was just wanting to
                                                                         8    look at your map because I left your map on my desk.
                                                                         9    See how it differs. Okay. So this map senate District
                                                                         10   6, does Senator Graves live in it?
                                                                         11           SEN. FIELDS:         Yeah. Continuity of
                                                                         12   representation was important. So all of the members of
                                                                         13   -- present members of Congress, actually live in their
                                                                         14   respective districts.
                                                                         15           SEN. WHITE:         What's -- what's -- what's the
                                                                         16   new minority districts?
                                                                         17           SEN. FIELDS:         The new minority districts would
                                                                         18   be -- would be senate -- I mean, Congressional District
                                                                         19   number 5.
                                                                         20           SEN. WHITE:         So five and two would be the
                                                                         21   minority districts?
                                                                         22           SEN. FIELDS:         Yes, sir.


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                                                                         1            SEN. WHITE:           And so -- I'm just going to ask
                                                                         2    you, because you've been around a long time like me --
                                                                         3    I never served in Congress but I watched many members
                                                                         4    serve -- with this new federal court order, as I look
                                                                         5    at it, and we wrestle with it, how do we fix it, what
                                                                         6    do we do, what's the different continuities, do you
                                                                         7    recall Judge John Parker's court order for East Baton
                                                                         8    Rouge Parish for desegregation?
                                                                         9            SEN. FIELDS:           I don't recall all of the
                                                                         10   specifics, but I do recall. Yes, sir.
                                                                         11           SEN. WHITE:           If you recall, I recall, because
                                                                         12   I had children, and we were trying to be in public -- I
                                                                         13   wanted them in public school. And that order, he
                                                                         14   ordered East Baton Rouge Parish school board to redraw
                                                                         15   all the lines, all the school districts lines.
                                                                         16           And what he basically did, was took all of --
                                                                         17   and -- and because we're using black and white in this,
                                                                         18   I'm going to use the same language -- he forced all the
                                                                         19   black kids in Baton Rouge to be bussed to the areas of
                                                                         20   Central, St. George, Zachary, those areas. He ordered
                                                                         21   all the white kids in those areas to be bussed to the
                                                                         22   inner city.


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                                                                         1            We went from about 90,000 to about 60,000
                                                                         2    students in East Baton Rouge Parish in a matter of
                                                                         3    about 10 years. He completely destroyed our public
                                                                         4    school system. It was good for extension in Levingston
                                                                         5    and west Baton Rouge, because they gained all our
                                                                         6    middle class kids it could more.
                                                                         7            And -- and I -- and at that time, I coached
                                                                         8    AAU, and I had a team with my daughter and 12 African
                                                                         9    American girls on it. Their parents weren't happy with
                                                                         10   it either, because they were forced to go to other
                                                                         11   areas. It took forever to get that desegregation order
                                                                         12   out, but by that time, we had lost our public schools
                                                                         13   in east Baton Rouge parish.
                                                                         14           And they were the top ranked -- them and
                                                                         15   Jefferson were the two top ranked districts in the
                                                                         16   state. And they went down to the bottom in a matter of
                                                                         17   about 15 years. I'm -- I'm just wondering what's -- I
                                                                         18   just -- an analogy, I see similarities if this judge is
                                                                         19   going to pound us and keep making us draw districts.
                                                                         20   What does it do for us? Is anybody going to know their
                                                                         21   Congressman? Is anybody going to have the same
                                                                         22   continuity that were seek to do this?


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                                                                         1            SEN. FIELDS:        A-- ye- -- absolutely, Cong- --
                                                                         2    Senator. There are six members of the US Congress. Five
                                                                         3    of them are white, one of them is black. The judge
                                                                         4    simply said that's unfair. And this plan basically
                                                                         5    complies with the judge's order.
                                                                         6             And it makes two of the six majority black
                                                                         7    districts. I -- I -- that's all it does. I mean, to me
                                                                         8    it's very simple. A- -- and it only gives them the
                                                                         9    opportunity to elect a candidate of their choice.
                                                                         10           SEN. WHITE:        So the maps that the previous
                                                                         11   senator had up here, you don't like those maps?
                                                                         12           SEN. FIELDS:        In fact, I -- I plan to vote for
                                                                         13   that map if they take an amendment off. There's an
                                                                         14   amendment that -- that -- that really, in my opinion,
                                                                         15   you know, defies the judge's order. If they take that
                                                                         16   amendment off, I plan to vote for it, because it comp-
                                                                         17   -- because it -- it -- outside of that a- -- out side
                                                                         18   of that -- that amendment, I think it complies with
                                                                         19   what the court order has -- I'll get it.
                                                                         20           SEN. WHITE:        I'm sorry.
                                                                         21           SEN. FIELDS:        I think it complies with what
                                                                         22   the court has ordered.


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                                                                         1            SEN. WHITE:        Well, I -- I don't like it
                                                                         2    because it cuts his parish in three pieces. And I -- I
                                                                         3    know that if I need something, I can call Garret Graves
                                                                         4    direct on his cell line, whether he is Baton Rouge or
                                                                         5    whether he's in Washington, and -- and have a
                                                                         6    discussion about an issue. I know he does the same on
                                                                         7    state issues.
                                                                         8             But if we have three Congressmen, I don't
                                                                         9    know that I'll have that connectivity, the three
                                                                         10   different Congressmen.
                                                                         11           And it concerns me a great deal for the -- for
                                                                         12   the metro area where no Congressman has a majority of
                                                                         13   our metro Baton Rouge, East Baton Rouge Parish, the
                                                                         14   biggest parish in the state.
                                                                         15           And I -- I -- feel that we'll just be the
                                                                         16   tail. We won't be the dog. We'll be the tail. And we'll
                                                                         17   have to wag the dog if we get something done.
                                                                         18           SEN. FIELDS:        Well, cong- -- Senator, there is
                                                                         19   some -- there is an advantage to having more than one
                                                                         20   Congressman. Baton Rouge have always had more than one
                                                                         21   Congressman, you know. And -- and -- and when -- when -
                                                                         22   - and there's been a big advantage to that.


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                                                                         1            I served with Congressman Richard Baker. As
                                                                         2    you know, he's a Republican, I'm a Democrat. And down
                                                                         3    there in Washington, everything is, you know -- not
                                                                         4    everything, but most things are based on party. I was
                                                                         5    the Democrat; he was the Republican. When the
                                                                         6    Republicans win charge, we leaned on him. When the
                                                                         7    Democrats win charge, they leaned on me. And we did a
                                                                         8    good job delivering for the state of -- I mean, for the
                                                                         9    city of Baton Rouge.
                                                                         10           So the -- when -- when I hear members -- when
                                                                         11   I heard members yesterday in a committee talking about,
                                                                         12   "I want one single member of Congress representing this
                                                                         13   area," there -- there -- there is nothing wrong with
                                                                         14   having more than one member of Congress. In fact, there
                                                                         15   is a big benefit having more than one, fighting for
                                                                         16   your area, for federal dollars, for federal
                                                                         17   appropriation, there is an advantage to that.
                                                                         18           And -- and I think Richard Baker and I did a
                                                                         19   good job for Baton Rouge. And I -- and I welcome more
                                                                         20   than one member of Congress.
                                                                         21           SEN. WHITE:        Well, thank you. And I appreciate
                                                                         22   that. I remember those days, but it's not that simple


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                                                                         1    in Congress anymore. As you know, it's -- it's not that
                                                                         2    simple. Those days were probably a lot better days than
                                                                         3    what we are experiencing now.
                                                                         4            My fear is we get three and -- and we can't
                                                                         5    get their attention. And I just -- I don't -- I don't
                                                                         6    think we would have the same stroke as you all had
                                                                         7    then. And for that reason, I -- I can't support a lot
                                                                         8    of these amendments and maps. But I just wanted to let
                                                                         9    you know my concerns.
                                                                         10           SEN. FIELDS:        Thank you, Senator White.
                                                                         11           SEN. CORTEZ:        Thank you. Members, I want to
                                                                         12   remind you that we are presenting these amendments in
                                                                         13   concept, and I don't want to stifle debate. And I want
                                                                         14   to allow everybody to ask questions.
                                                                         15           We have four more people for questions on this
                                                                         16   particular amendment, and a person for the floor on
                                                                         17   this particular amendment, and then we have five more
                                                                         18   amendments to go through in concept.
                                                                         19            These are all being returned to the calendar
                                                                         20   for you to go and work amongst yourselves to see if
                                                                         21   there's a consensus that you can get to. Everybody
                                                                         22   that's opposed to this amendment does not need to come


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                                                                         1    tell Senator Fields they are opposed to his amendment.
                                                                         2            If you want to point out something that -- I -
                                                                         3    - I -- I'm happy to have you do that. But I guess the
                                                                         4    point being, if you're going to come for every
                                                                         5    amendment and tell the same part that you're opposed to
                                                                         6    on each amendment, I think we got that on the bill,
                                                                         7    that you're opposed specifics of Senator Ward's bill.
                                                                         8    So without having people having people repeat
                                                                         9    themselves -- Senator Morris for question on the
                                                                         10   amendment.
                                                                         11           SEN. MORRIS:          I- -- I'll try to be bri- --
                                                                         12   brief. Senator Fields, your map has a little section in
                                                                         13   northeast Louisiana that juts into Ouachita Parish. And
                                                                         14   you also have a section in -- that juts a -- a
                                                                         15   significant part of East Baton Rouge and juts into
                                                                         16   parts of East Baton Rouge Parish, I -- I think
                                                                         17   including where we're standing here, if I'm not
                                                                         18   mistaken. Can you explain why you have that little
                                                                         19   appendage coming into Ouachita Parish and East Baton
                                                                         20   Rouge Parish?
                                                                         21           SEN. FIELDS:          That was the drawing of the map.
                                                                         22   Senator, let me ask you a question. If -- if -- if that


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                                                                         1    bothers you, I- -- I'm more than willing for you to,
                                                                         2    you know, make that a swear. And -- and -- and -- and
                                                                         3    if it doesn't interfere with two majority black
                                                                         4    districts, I would accept that as an amendment.
                                                                         5            SEN. MORRIS:        I -- I appreciate that, but I --
                                                                         6    I want to know your justification for this, why would
                                                                         7    you reach out and grab these people in Ouachita and
                                                                         8    these people in East Baton Rouge Parish.
                                                                         9            SEN. FIELDS:        In drawing -- in drawing the
                                                                         10   map, Senator, you know, I had to be within the
                                                                         11   deviations. There are 6- -- 700 and some thousand
                                                                         12   people you -- you had to be within a deviation.
                                                                         13            And none of the maps were going to be
                                                                         14   absolutely perfect, so I had to be within deviations.
                                                                         15   So I -- tha- -- tha -- that would be best explanation I
                                                                         16   could give for that.
                                                                         17           SEN. MORRIS:        So you -- you didn't reach out
                                                                         18   and grab the African American voters in Ouachita Parish
                                                                         19   and African American voters in East Baton Rouge Parish?
                                                                         20           SEN. FIELDS:        With District 6, as you know, is
                                                                         21   not and African American district. So certainly, I did
                                                                         22   not grab African Americans in District 6. That's --


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                                                                         1              SEN. MORRIS:        I'm pointing to five. The
                                                                         2    yellow.
                                                                         3              SEN. FIELDS:        I thought you were pointing to
                                                                         4    six.
                                                                         5              SEN. MORRIS:        I'm pointing to five.
                                                                         6              SEN. FIELDS:        Okay.
                                                                         7              SEN. MORRIS:        See that little pinged that
                                                                         8    sticks in there?
                                                                         9              SEN. FIELDS:        Yes. So I didn't grab them in
                                                                         10   six. So District 5, that's a large portion of the
                                                                         11   parish, in District 5. I mean, I had to be within the
                                                                         12   deviation, so that's why the ma- -- map looks the way
                                                                         13   it looks.
                                                                         14               It's -- no- -- none of these maps, members,
                                                                         15   are going to be perfectly shaped. You have to fall
                                                                         16   within a certain deviation, and that's the way the
                                                                         17   cookie will crumble, when you have to be in a -- a
                                                                         18   perfect deviation, with members of Congress.
                                                                         19             SEN. MORRIS:        So you did not intend -- because
                                                                         20   these are apparently African American precincts -- so
                                                                         21   that was not the purpose of grabbing of -- of -- of
                                                                         22   that appendaged of District 5, which starts at the


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                                                                         1    Arkansas line and comes to where we are right now?
                                                                         2            SEN. FIELDS:        That was not the sole purpose.
                                                                         3    No, Se- -- Senator.
                                                                         4            SEN. MORRIS:        But it was a purpose?
                                                                         5            SEN. FIELDS:        Yeah. You can take race into
                                                                         6    account in drawing maps. So race was a factor but it
                                                                         7    was not the predominant factor.
                                                                         8            SEN. MORRIS:        Thank you.
                                                                         9            SEN. FIELDS:        Thank you, sir. I see that there
                                                                         10   are further questions on the board [inaudible] --
                                                                         11           SEN. CORTEZ:        Senator Hewitt for question on
                                                                         12   the amendment.
                                                                         13           SEN. FIELDS:        Be happy to hear.
                                                                         14           SEN. HEWITT:        Thank you, Mr. President.
                                                                         15   Senator, thank you again for being very consistent and
                                                                         16   participating throughout this whole process in offering
                                                                         17   solutions and maps, both in the normal -- the regular
                                                                         18   redistricting session and again, in this one. And I --
                                                                         19   and I respect that deeply.
                                                                         20           So we had a -- this -- we had a five-hour
                                                                         21   hearing at 9:00 a.m. on day two, to hear your bill. And
                                                                         22   this bill, as you described it, is basically the same.


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                                                                         1    You took out the legal language that Senator Foil added
                                                                         2    in committee, though it basically was added in Rick
                                                                         3    Ward's bill, the original bill, and you took it out.
                                                                         4    But the effect was the same, which I don't agree with.
                                                                         5            And then you addressed the air- -- the
                                                                         6    Barksdale Air Force Amendment that Senator Reese put on
                                                                         7    the committee. And I -- I did support that. I thought
                                                                         8    that was a good move. But there were lots of people
                                                                         9    that came in that day to testify about problems in very
                                                                         10   specific areas of the state.
                                                                         11           We had, you know, the mayor for my hometown,
                                                                         12   my parish, talk about Slidell. And I did talk about
                                                                         13   that in my district about how it's carved up. I mean,
                                                                         14   completely carved up in terms of a community of
                                                                         15   interest with other parts of Slidell, parts of Pearl
                                                                         16   River, parts of Lacombe, and how problematic that was
                                                                         17   for us. It's just an example.
                                                                         18           Did you -- I mean, you were there for the --
                                                                         19   for the whole five hours -- did you in- -- incorporate
                                                                         20   any of those concerns that were raised in committee and
                                                                         21   -- and amendments in any way, in -- in this bill that
                                                                         22   you're presenting to us today?


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                                                                         1            SEN. FIELDS:        N- -- n- -- no. I did not. And
                                                                         2    in fact -- a- -- and I did hear their testimony, and it
                                                                         3    did not go on deaf ears.         The- -- they were very fine
                                                                         4    people. And -- and I talked to a few of them outside in
                                                                         5    the hall. In fact, one of them said, "I apologize. I
                                                                         6    think you -- I -- I hate -- I hate what you're -- you
                                                                         7    know, I hate to be in your shoes." But I had to make
                                                                         8    my, you know -- I had to say what I had to say.
                                                                         9            But at the end of the day, you know, we're
                                                                         10   under a court order to do what we're doing. And I -- I
                                                                         11   really appreciate all of their testimony. But -- but
                                                                         12   no, I -- I only took into account what the court has
                                                                         13   said and what my colleague, Mr. Reese offered, because
                                                                         14   it was a reasonable, very reasonable amendment.
                                                                         15            And -- and I took my -- my other colleague,
                                                                         16   Senator Foil's, amendment off, because I just didn't
                                                                         17   think it was appropriate at the time.
                                                                         18           SEN. HEWITT:        But wouldn't you agree that the
                                                                         19   court order, the court didn't give us a map. Right? She
                                                                         20   didn't tell us how to do it. Right? There are infinite
                                                                         21   numbers of ways that you could draw a map that would
                                                                         22   adhere to the court's order, and -- but yet -- so here


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                                                                         1    -- that's why we're here this week, is to try to do the
                                                                         2    very best we can, in honoring all of the redistricting
                                                                         3    principles, while drawing two black districts.
                                                                         4            And I think there are opportunities to do
                                                                         5    that. And you heard many suggestions on how to do that
                                                                         6    in the committee hearing. And I guess I'm -- I would
                                                                         7    have been -- I was hopeful that perhaps you had
                                                                         8    incorporated some of those things in your map, because
                                                                         9    you have had more time than anybody, to work on your
                                                                         10   map. We heard your map first.
                                                                         11            And Senator Ward's map is a day behind, which
                                                                         12   doesn't sound like a lot, but in a six-day session,
                                                                         13   it's huge.
                                                                         14           And so, you know, I find that we're -- we're
                                                                         15   in scramble mode here, trying to work on a map, on
                                                                         16   Senator Ward's map, which we had the least amount of
                                                                         17   time to look at and work on.
                                                                         18            And -- and you've had the benefit of more
                                                                         19   time, and, you know, was hopeful that -- that some of
                                                                         20   that feedback that we got from people back home, would
                                                                         21   have been considered in whatever amendment you might
                                                                         22   bring today.


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                                                                         1            SEN. FIELDS:        You know, Senator, I'm glad you
                                                                         2    mentioned that, because you've had that same time.
                                                                         3    You've had the benefit of introducing a map. You
                                                                         4    introduced the map without -- with -- with -- with one
                                                                         5    -- you've introduced the map with one minority
                                                                         6    district. You have made no effort to include in your
                                                                         7    map, two minority districts. You have made no effort to
                                                                         8    -- in fact -- well -- look, I'm doing the best I can.
                                                                         9    I'm doing --
                                                                         10           SEN. HEWITT:        [inaudible].
                                                                         11           SEN. FIELDS: -- the best I can. I'm -- look,
                                                                         12   tomorrow is Father's Day and -- and -- I -- I -- I want
                                                                         13   to just -- I want to take a vote, and I want it to be
                                                                         14   up or down. And I want us to just -- if -- if we can
                                                                         15   get out of here today, let's get out of here today. But
                                                                         16   -- but -- but I know what I've done, and you know what
                                                                         17   I've done. And you have a bill in the committee right
                                                                         18   now, that has one black district. And that's not what
                                                                         19   the judge told us to do.
                                                                         20           SEN. HEWITT:        It is an instrument, right, that
                                                                         21   you could amend anything. You could amend your bill
                                                                         22   onto that instrument, we could amend any bill onto that


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                                                                         1    instrument, so the purpose of that was to have another
                                                                         2    instrument.
                                                                         3            I -- I know you're working hard and I pra- --
                                                                         4    and I'm working hard right next to you. Right? We're
                                                                         5    putting in all the same hours. Appreciate your efforts.
                                                                         6    And I also look forward to getting home for Father's
                                                                         7    Day, if that be the will of this body. Thank you.
                                                                         8            SEN. CORTEZ:           Thank you. Senator Morris, you
                                                                         9    have your button for the floor on the bill. I think
                                                                         10   Senator Fields is going to return this to the calendar,
                                                                         11   but if you want to -- I didn- -- I don't want to stifle
                                                                         12   the debate. If want to make a comment on the floor, you
                                                                         13   certainly have the right to the floor.
                                                                         14           SEN. FIELDS:           I thank [inaudible].
                                                                         15           SEN. MORRIS:           Thank you, Mr. President. And I
                                                                         16   -- I -- I have great respect for Senator Fields. He's
                                                                         17   been here long time and -- and knows a lot about this
                                                                         18   process. However, I do have to point out some things a-
                                                                         19   -- about this whole process and what's -- what we're
                                                                         20   voting on or will be voting on when we vote on this
                                                                         21   amendment.
                                                                         22           We have had more than one majority African


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                                                                         1    American district in this state. In fact, on two
                                                                         2    occasions, we've had more than one majority African
                                                                         3    American district. And you know what happened to those
                                                                         4    districts? They were struck down by the United States
                                                                         5    Supreme Court, because racial gerrymandering is not
                                                                         6    appropriate.
                                                                         7            And although according to Senator Fields, and
                                                                         8    I take him at his word, that it was not racially ger- -
                                                                         9    - gerrymandered, and that's why he doesn't reach out
                                                                         10   and grab what appears to be all the -- the majority of
                                                                         11   the African American districts in northeast Louisiana
                                                                         12   and Ouachita Parish, by little odd-shaped appendage.
                                                                         13   And also reaching into East Baton Rouge Parish, right
                                                                         14   here where we're standing, maybe that's not racial
                                                                         15   gerrymandering, but it gives every appearance of being
                                                                         16   that.
                                                                         17           And with -- with that, I'm going to close with
                                                                         18   just a quote from the United States Supreme Court, and
                                                                         19   this is in a 2018 case. "The equal protection clause
                                                                         20   forbids racial gerrymandering. That is intentionally
                                                                         21   assigning citizens to a district on the basis of race
                                                                         22   without sufficient justification."


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                                                                         1            I asked Senator Fields what his justification
                                                                         2    was, for those appendages I referred to a moment ago,
                                                                         3    and the only thing I heard was, "We just need some more
                                                                         4    population." I think it has to be more than that,
                                                                         5    because I think this amendment -- the map created by
                                                                         6    this amendment, would not only be bad for my area, but
                                                                         7    I think it would be unconstitutional. And that's why at
                                                                         8    the appropriate time, [inaudible]. Thank you, Mr.
                                                                         9    President.
                                                                         10           SEN. CORTEZ:          Thank you. There are no further
                                                                         11   questions, no further members for to the floor. At this
                                                                         12   time, Senator Fields will return it to the calendar
                                                                         13   temporarily. Next amendment.
                                                                         14           SEC. DIXON:          Next amendment is by Senator
                                                                         15   Allain. Set number 20. Set number 20.
                                                                         16           SEN. CORTEZ:          Senator Allain.
                                                                         17           SEN. ALLAIN:          I'm going to wait until the maps
                                                                         18   are passed out, but -- but basically, it was -- I was
                                                                         19   trying to preserve the -- the communities of interest
                                                                         20   in my area, the -- the -- the rural area as it stands.
                                                                         21   And it's been represented for decades.
                                                                         22           We move the third district out of Orleans


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                                                                         1    Parish and over toward Lafayette. And we did pick up
                                                                         2    Lafayette because I believe there is a lot of common
                                                                         3    interest between Dubois [ph] District in -- in my area.
                                                                         4             So parts of Jefferson, Plaquermines,
                                                                         5    Terrebonne, Assumption, St. Mary, Iberia, St. Martin,
                                                                         6    and Abbeville, and going up in to -- a little bit up
                                                                         7    into EBR, is what it does.
                                                                         8             I -- I mean, this is strictly to satisfy what
                                                                         9    I believe should be maintained as a community interest.
                                                                         10   I see no questions. I'll -- I'll just let it stand as
                                                                         11   it is.
                                                                         12            SEN. CORTEZ:       Okay. Senator Allain returns it
                                                                         13   to the -- temporarily returns it. Next amendment.
                                                                         14            SEC. DIXON:       Next amendments are by Senator
                                                                         15   Robert Mills. They are set number 22. Set number 22.
                                                                         16            SEN. CORTEZ:       Senator Mills.
                                                                         17            SEN. MILLS:       Thank you, Mr. President. And as
                                                                         18   I mentioned earlier, when talking to Senator Ward, this
                                                                         19   map simply brings back together Claiborne, Bossier,
                                                                         20   Webster, this other Red River, as a -- a operating
                                                                         21   unit, which it really is in fact. And it -- it only
                                                                         22   deals with populations in Districts 4 and 5. And that's


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                                                                         1    basically the gist of this amendment, which I would ask
                                                                         2    you to support at the appropriate time.
                                                                         3            SEN. CORTEZ:          Okay. There are no questions.
                                                                         4    Thank you, Senator Mills. He returns -- temporarily
                                                                         5    returns it. Next amendment.
                                                                         6            SEC. DIXON:          Next set of amendments are by
                                                                         7    Senator Peacock. They are set number 19.
                                                                         8            SEN. CORTEZ:          Senator Peacock.
                                                                         9            SEN. PEACOCK:           Thank you, Mr. President.
                                                                         10   Members, I'm going to waive my amendment, given what
                                                                         11   Senator Mills just presented, because it -- it -- it
                                                                         12   establishes the same concept. So I -- I withdraw my
                                                                         13   amendment.
                                                                         14           SEN. CORTEZ:          He withdraws.
                                                                         15           SEC. DIXON:          And the last set of amendments
                                                                         16   are by Senator Luneau. They are set number 23. Set
                                                                         17   number 23.
                                                                         18           SEN. CORTEZ:          Senator Luneau.
                                                                         19           SEN. LUNEAU:          Thank you, Mr. President.
                                                                         20   Members, this amendment, what is does is that it makes
                                                                         21   the -- the act effective upon the signature of the
                                                                         22   governor, if not signed by the governor upon the


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                                                                         1    expiration of time for the bills to become law without
                                                                         2    the signature.
                                                                         3            The reason for that is because the court has
                                                                         4    given us a deadline within which to have this done. And
                                                                         5    this would -- this would comply with the deadline. As
                                                                         6    the bill stands now, it does not comply with that, so
                                                                         7    it would not be in compliance with the court's order.
                                                                         8            Even though I have my legislative hat on
                                                                         9    today, I have to keep my lawyer hat on all the time.
                                                                         10   And as an officer of the court, I believe it's
                                                                         11   important that I follow the -- the orders of the court,
                                                                         12   and that is a direct order of the court. So that's the
                                                                         13   reason for this amendment.
                                                                         14           SEN. CORTEZ:        Okay. Thank you, Senator. He
                                                                         15   temporarily returns it.
                                                                         16           SEC. DIXON:        The next set of amendments are by
                                                                         17   Senator Fields. They are set number 25. Set number 25.
                                                                         18           SEN. CORTEZ:        Senator Fields.
                                                                         19           SEN. FIELDS:        Mr. President, it came to my
                                                                         20   attention that -- I explained the amendment already.
                                                                         21   They did not take the amendment out that deals with the
                                                                         22   -- upon the signature of the governor. So this would


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                                                                         1    have to be a second amendment. So that's what this
                                                                         2    amendment does.
                                                                         3            SEN. CORTEZ:           Okay. And is this amendment on
                                                                         4    the computer?
                                                                         5            SEC. DIXON:           Yes.
                                                                         6            SEN. CORTEZ:           Okay. Members, this one has not
                                                                         7    been handed out but -- or it is being handed out, but
                                                                         8    it is on the computer, if you'd like to pull it up.
                                                                         9            SEN. FIELDS:           Basically, it was a -- a draft
                                                                         10   thing error. When I add bill to draft the amendment, I
                                                                         11   told him I wanted to -- to accept Mr. Reece's
                                                                         12   amendment. But I did not want to accept my -- my Baton
                                                                         13   Rouge colleague's amendment. And they forgot to take
                                                                         14   off my Baton Rouge's colleagues amendment. And this
                                                                         15   would basically take it off.
                                                                         16           SEN. CORTEZ:           My understand, Senator Fields,
                                                                         17   this is a -- a exact duplicate of what Senator Luneau
                                                                         18   just presented as well?
                                                                         19           SEN. FIELDS:           Yes.
                                                                         20           SEN. CORTEZ:           Okay. Duplicate amendment. All
                                                                         21   right. He temporarily re- -- returns it. Any other
                                                                         22   amendments?


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                                                                         1            Okay, members, you've been presented the bill.
                                                                         2    You've been -- you've heard the questions and the
                                                                         3    comments, and you've been presented with seven, I think
                                                                         4    now eight amendments. One has been withdrawn.
                                                                         5            At this time, what I'd like to do, is have a
                                                                         6    standard recess to allow Senator Ward to -- to visit
                                                                         7    with you all on the different amendments and to see if
                                                                         8    there's an opportunity to find consensus to get -- as
                                                                         9    you know, in this building, it's about getting 20
                                                                         10   votes. So at this time, I'm going to -- I'm going to
                                                                         11   allow us to stand at recess until 1:15. Stand at recess
                                                                         12   till 1:15.
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